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      The Securities and Exchange Commission has not necessarily reviewed the information in this
                       filing and has not determined if it is accurate and complete.
              The reader should not assume that the information is accurate and complete.

                     UNITED STATES SECURITIES AND EXCHANGE                                  OMB APPROVAL
                                  COMMISSION                                                                   3235-
                                                                                            OMB Number:
                                         Washington, D.C. 20549                                                 0076

                                                FORM D                                      Estimated average burden
                                                                                            hours per
                                                                                                                4.00
                                                                                            response:

                           Notice of Exempt Offering of Securities


 1. Issuer's Identity

                                         Previous
  CIK (Filer ID Number)                              X None                Entity Type
                                         Names
  0001671923                                                                  Corporation
  Name of Issuer                                                            X Limited Partnership
  Castalian Partners Value Fund, LP
                                                                              Limited Liability Company
  Jurisdiction of
  Incorporation/Organization                                                  General Partnership
  DELAWARE                                                                    Business Trust
  Year of Incorporation/Organization
                                                                              Other (Specify)
     Over Five Years Ago
  X Within Last Five Years (Specify Year) 2016
     Yet to Be Formed

 2. Principal Place of Business and Contact Information

  Name of Issuer
  Castalian Partners Value Fund, LP
  Street Address 1                                    Street Address 2
  2030 RENAISSANCE COURT
                                                                            Phone Number of
  City                      State/Province/Country ZIP/PostalCode
                                                                            Issuer
  CHANHASSEN                MINNESOTA                 55317                 612-481-0707

 3. Related Persons

  Last Name                           First Name                     Middle Name
  Gibson                              James
  Street Address 1                    Street Address 2
  2030 Renaissance Court
  City                                State/Province/Country         ZIP/PostalCode
  Chanhassen                          MINNESOTA                      55317
  Relationship: X Executive Officer      Director   Promoter




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 Clarification of Response (if Necessary):

 Manager of General Partner

 4. Industry Group

    Agriculture                                 Health Care                 Retailing
    Banking & Financial Services                   Biotechnology
                                                                            Restaurants
       Commercial Banking                          Health Insurance         Technology
       Insurance
                                                   Hospitals & Physicians     Computers
       Investing
       Investment Banking                          Pharmaceuticals            Telecommunications

     X Pooled Investment Fund                      Other Health Care          Other Technology
        X Hedge Fund                            Manufacturing               Travel
           Private Equity Fund                  Real Estate                   Airlines & Airports
           Venture Capital Fund                    Commercial                 Lodging & Conventions
           Other Investment Fund
                                                   Construction               Tourism & Travel Services
       Is the issuer registered as
       an investment company under                 REITS & Finance            Other Travel
       the Investment Company
       Act of 1940?                                Residential              Other
          Yes                 X No                 Other Real Estate
       Other Banking & Financial Services

    Business Services
    Energy
       Coal Mining

       Electric Utilities

       Energy Conservation

       Environmental Services

       Oil & Gas

       Other Energy


 5. Issuer Size

  Revenue Range             OR           Aggregate Net Asset Value Range
   No Revenues                               No Aggregate Net Asset Value
   $1 - $1,000,000                           $1 - $5,000,000
   $1,000,001 -
                                             $5,000,001 - $25,000,000
   $5,000,000
   $5,000,001 -
                                             $25,000,001 - $50,000,000
   $25,000,000




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    $25,000,001 -                                $50,000,001 - $100,000,000
    $100,000,000
    Over $100,000,000                            Over $100,000,000
    Decline to Disclose                        X Decline to Disclose
    Not Applicable                               Not Applicable

 6. Federal Exemption(s) and Exclusion(s) Claimed (select all that apply)

                                                 X Investment Company Act Section 3(c)
     Rule 504(b)(1) (not (i), (ii) or (iii))     X Section 3(c)(1)        Section 3(c)(9)
     Rule 504 (b)(1)(i)
                                                   Section 3(c)(2)        Section 3(c)(10)
     Rule 504 (b)(1)(ii)
     Rule 504 (b)(1)(iii)                          Section 3(c)(3)        Section 3(c)(11)

     Rule 505                                      Section 3(c)(4)        Section 3(c)(12)
   X Rule 506(b)
                                                   Section 3(c)(5)        Section 3(c)(13)
     Rule 506(c)
                                                   Section 3(c)(6)        Section 3(c)(14)
     Securities Act Section 4(a)(5)
                                                   Section 3(c)(7)


 7. Type of Filing

  X New Notice Date of First Sale X First Sale Yet to Occur
    Amendment

 8. Duration of Offering

  Does the Issuer intend this offering to last more than one year? X Yes             No

 9. Type(s) of Securities Offered (select all that apply)

    Equity                                                    X Pooled Investment Fund Interests
    Debt                                                          Tenant-in-Common Securities
    Option, Warrant or Other Right to Acquire Another
                                                                  Mineral Property Securities
    Security
    Security to be Acquired Upon Exercise of Option,
                                                                  Other (describe)
    Warrant or Other Right to Acquire Security

 10. Business Combination Transaction

  Is this offering being made in connection with a business combination
                                                                                      Yes X No
  transaction, such as a merger, acquisition or exchange offer?

 Clarification of Response (if Necessary):

 11. Minimum Investment

  Minimum investment accepted from any outside investor $250,000 USD




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 12. Sales Compensation

  Recipient                                             Recipient CRD Number X None
                                                        (Associated) Broker or Dealer CRD
  (Associated) Broker or Dealer X None                                                    X None
                                                        Number
  Street Address 1                                     Street Address 2
                                                                                                     ZIP/Postal
  City                                                 State/Province/Country
                                                                                                     Code
  State(s) of Solicitation (select all
  that apply)                               All
                                                          Foreign/non-US
  Check “All States” or check               States
  individual States

 13. Offering and Sales Amounts

  Total Offering Amount             USD or X Indefinite
  Total Amount Sold             $0 USD
  Total Remaining to be Sold        USD or X Indefinite

 Clarification of Response (if Necessary):

 14. Investors

     Select if securities in the offering have been or may be sold to persons who do not qualify
     as accredited investors, and enter the number of such non-accredited investors who
     already have invested in the offering.
     Regardless of whether securities in the offering have been or may be sold to persons        0
     who do not qualify as accredited investors, enter the total number of investors who
     already have invested in the offering:

 15. Sales Commissions & Finder's Fees Expenses

 Provide separately the amounts of sales commissions and finders fees expenses, if any. If the amount of an
 expenditure is not known, provide an estimate and check the box next to the amount.

                 Sales Commissions $0 USD            Estimate

                        Finders' Fees $0 USD         Estimate

 Clarification of Response (if Necessary):

 16. Use of Proceeds

 Provide the amount of the gross proceeds of the offering that has been or is proposed to be used for payments
 to any of the persons required to be named as executive officers, directors or promoters in response to Item 3
 above. If the amount is unknown, provide an estimate and check the box next to the amount.

                                         $0 USD      Estimate

 Clarification of Response (if Necessary):

 Signature and Submission




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 Please verify the information you have entered and review the Terms of Submission below before
 signing and clicking SUBMIT below to file this notice.

 Terms of Submission

  In submitting this notice, each issuer named above is:

         • Notifying the SEC and/or each State in which this notice is filed of the offering of securities described
           and undertaking to furnish them, upon written request, in the accordance with applicable law, the
           information furnished to offerees.*

         • Irrevocably appointing each of the Secretary of the SEC and, the Securities Administrator or other
           legally designated officer of the State in which the issuer maintains its principal place of business and
           any State in which this notice is filed, as its agents for service of process, and agreeing that these
           persons may accept service on its behalf, of any notice, process or pleading, and further agreeing that
           such service may be made by registered or certified mail, in any Federal or state action, administrative
           proceeding, or arbitration brought against the issuer in any place subject to the jurisdiction of the United
           States, if the action, proceeding or arbitration (a) arises out of any activity in connection with the
           offering of securities that is the subject of this notice, and (b) is founded, directly or indirectly, upon the
           provisions of: (i) the Securities Act of 1933, the Securities Exchange Act of 1934, the Trust Indenture
           Act of 1939, the Investment Company Act of 1940, or the Investment Advisers Act of 1940, or any rule
           or regulation under any of these statutes, or (ii) the laws of the State in which the issuer maintains its
           principal place of business or any State in which this notice is filed.

         • Certifying that, if the issuer is claiming a Regulation D exemption for the offering, the issuer is not
           disqualified from relying on Regulation D for one of the reasons stated in Rule 505(b)(2)(iii) or Rule 506
           (d).


 Each Issuer identified above has read this notice, knows the contents to be true, and has duly caused this
 notice to be signed on its behalf by the undersigned duly authorized person.

 For signature, type in the signer's name or other letters or characters adopted or authorized as the signer's
 signature.

                        Issuer                               Signature             Name of Signer                                Title                            Date
  Castalian Partners Value Fund, LP                       James Gibson            James Gibson                 Manager of General Partner                   2016-04-12

 Persons who respond to the collection of information contained in this form are not required
 to respond unless the form displays a currently valid OMB number.
 * This undertaking does not affect any limits Section 102(a) of the National Securities Markets Improvement Act of 1996 ("NSMIA") [Pub. L. No. 104-290, 110 Stat.
 3416 (Oct. 11, 1996)] imposes on the ability of States to require information. As a result, if the securities that are the subject of this Form D are "covered securities" for
 purposes of NSMIA, whether in all instances or due to the nature of the offering that is the subject of this Form D, States cannot routinely require offering materials
 under this undertaking or otherwise and can require offering materials only to the extent NSMIA permits them to do so under NSMIA's preservation of their anti-fraud
 authority.




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     BANC:
     Extensive Ties
     To Notorious
     Fraudster Jason
     Galanis Make
     Shares Un-
     Investible
     Oct. 18, 2016 12:40 PM ET | Includes: Banc of Califo…



     "Despite the experience of recent years, corporate rogues continue to
     find their way to positions of power at the top companies. Thousands
     of people every year are fooled into investing in companies that turn
     out to be dishonest, unethical, or even downright criminal."

     - The Forewarned Investor, a treatise on identifying corporate fraud co-
     authored by BANC CEO, Steven Sugarman




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     VISIT WWW.BANCEXPOSED.COM TO DOWNLOAD SELECT SOURCE MATERIAL.

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     read our research opinion. All information for this article was derived from
     publicly available information. Investors are encouraged to conduct their own
     due diligence into these factors. Additional disclosure: This article represents
     the opinion of the author as of the date of this article. The information set
     forth in this article does not constitute a recommendation to buy or sell any
     security. This article represents the opinion of the author as of the date of this
     article. This article contains certain "forward-looking statements," which may
     be identified by the use of such words as "believe," "expect," "anticipate,"
     "should," "planned," "estimated," "potential," "outlook," "forecast," "plan" and
     other similar terms. All are subject to various factors, any or all of which could
     cause actual events to differ materially from projected events. This article is
     based upon information reasonably available to the author and obtained from
     sources the author believes to be reliable; however, such information and
     sources cannot be guaranteed as to their accuracy or completeness. The
     author makes no representation as to the accuracy or completeness of the
     information set forth in this article and undertakes no duty to update its
     contents. The author may also cover his/her short position at any point in time
     without providing notice. The author encourages all readers to do their
     own due diligence.

     Background

     In 2010, COR Capital ("COR"), an obscure investment firm most visibly known
     for its associations with Pink-Sheet stocks, led the recapitalization of a Los
     Angeles based regional bank named First Pactrust ("FPB"). In 2012, Steven
     Sugarman, COR's Managing Member, became the CEO of the bank and began
     a "transformational" growth strategy fueled by a combination of (oftentimes
     related party) acquisitions and loan growth.

     Growing its balance sheet by a factor of 10x and now having crossed the
     critical $10 Billion asset threshold, the renamed Banc of California
     (NYSE:BANC) has touted itself as a "community reinvestment" lender. The
     bank has cultivated relationships with politicians and celebrities to project an




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    air of success and credibility as California's Bank. Investors have increasingly
    adopted these promotional narratives and BANC's shares had doubled over the
    past year.

    The PR effort hit new highs in August when BANC agreed to pay $100 million,
    roughly 10% of its market cap, for soccer stadium naming rights to the LA
    Football Club (which just happens to be part-owned by Steven's brother Jason
    Sugarman and Jason's father-in-law Peter Guber).

    With our interest piqued by yet another related party transaction, we
    conducted exhaustive due diligence into BANC's leadership team, collecting
    tens of thousands of pages of publicly-available state, federal, and
    international documents. Taken together, these form to assemble one of the
    most ominous fact patterns we have ever seen.

    Our research establishes that BANC's senior-most officers and board
    members have a broad mosaic of extensive and indisputable ties to
    Jason Galanis. We believe this introduces a significant un-discounted
    risk that notorious criminals gained control over the $10 Billion
    taxpayer guaranteed Banc of California.

    Jason Galanis and his infamous father, John Galanis, have a long history of
    secretly gaining control of banks and public companies via front men,
    looting assets, and leaving unsuspecting investors and taxpayers with
    hundreds of millions in losses. The mere presence of a bank leadership team
    associated with Galanis should send diligent investors running for the hills.

    We see striking similarities between BANC and Gerova Financial, a $1 Billion
    NYSE listed financial institution that collapsed on the revelation of Galanis'
    secret control. Like BANC, Gerova's executives had significant ties to Galanis
    and touted their community reinvestment efforts with politicians to establish
    credibility. In the end, the promotion was a diversion from a giant fraud that
    left investors with devastating losses.

    As a result, we believe Banc Of California is simply un-investible.

    A summary of key research conclusions we are releasing in this report include:




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     • Jason Galanis Controlled COR, BANC's Founding Shareholder. SEC
        documents detail how Galanis gained control of COR portfolio companies to
        orchestrate the Tribal Bonds Ponzi Scheme. Galanis laid claim to Banc of
        California to display his financial wherewithal and even managed the
        scheme out of an office in the same building as BANC's headquarters.
     • An Off-Balance Sheet Lender Controlled By BANC's Senior-Most
        Officers Financed Galanis. Steven Sugarman holds an undisclosed
        interest in Camden Capital, an off-balance sheet lender controlled by
        BANC's Vice Chairman, Jeffrey Seabold. Camden was used to finance
        Galanis amidst the recent Tribal Bond Scheme and engaged in transactions
        with Galanis during the Gerova Financial fraud.
     • BANC's Lead "Independent" Director Has Strong Ties To Galanis.
        BANC's Lead "Independent" Director, Chad Brownstein, has strong ties to
        Jason Galanis, his indicted associates, and COR Capital. Mr. Brownstein also
        accepted an undisclosed loan from Camden that is secured by his Los
        Angeles Mansion but appears to finance his outside business ventures.
     • We See Similarities Between BANC And Galanis' Gerova Financial
        fraud. In wrapping BANC in the flag of "community reinvestment", Steven
        Sugarman has recycled a nearly identical narrative to what Galanis
        propagated at Gerova Financial. Further parallels include a leadership team
        and founding shareholder with undisclosed ties to Galanis, a bevy of
        suspect related party transactions, and the use of opaque assets as
        regulatory capital.

    Note: Neither Banc Of California or its executives have been named in any
    government indictments.

    All information for this article was derived from publicly available information.
    The author(s) have a short position in Banc Of California. Investors are
    strongly encouraged to conduct their own due diligence into these factors.

    Steven Sugarman's COR And Jason Galanis Control The Same Offshore
    Insurance Company




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    Seasoned readers will likely recall that John Galanis was one of the most
    notorious financial criminals of the 1970s and 1980s. Before being served with
    a 58-count RICO indictment in 1987, Galanis defrauded investors out of
    hundreds of millions through a variety of stock scams, frauds, and ponzi
    schemes that led to the seizure of at least four banks. Specific historical
    examples include:

     • A fraudulent tax shelter scheme orchestrated by gaining control of two
        banks, bribing officials of another and gaining control of three California
        mutual funds. Rudolph Giuliani, called this "one of the largest white-collar
        crimes the FBI has ever had."
     • The looting of Chase Bank in the early 80s as part of an "inside job" in
        which a series of fraudulent loans were made to Galanis companies.

     • Charges brought by Canadian authorities in 1973 that allegedly involved
        fraudulent investment securities that were purchased by a Montreal Bank
        that Galanis indirectly controlled through his control of the bank's
        largest shareholder.

    John has reportedly had a "heavy if not controlling influence" over his son,
    Jason Galanis, who became known in the early 2000s as"Porn's New King" and
    subsequently settled SEC accounting fraud charges related to Penthouse's
    bankruptcy.

    In September 2015, father and son were charged by both the SEC and
    Department of Justice (having since pled guilty) for their role in secretly
    gaining control of Gerova Financial (OTC:GVFG), a Bermuda-based reinsurer.
    This now infamous heist of what was then a nearly $1 Billion NYSE
    listed company saw its stock decline 95% after a short seller's report
    exposed Gerova's ties to Jason Galanis.

    In May of 2016, Jason & John Galanis, while out on bail for the Gerova fraud,
    were again charged by the SEC and Department of Justice along with five
    associates for a complex ponzi-scheme. The alleged fraud involved sham tribal
    bond placements, the proceeds of which were transferred into shell
    corporations and used to purchase luxuries and pay legal expenses.




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    Central to the scheme was the Valor Group ("Valor"), also a large Bermuda-
    based insurance holding company that, according to the SEC, "was controlled
    by Jason Galanis." Valor was used to finance the acquisition of asset managers
    who, in turn, purchased the fraudulent tribal bonds on behalf of their clients.




    Source: SEC Complaint

    Two troubling ties to Steven Sugarman, who remains the Managing Member of
    COR Capital, immediately emerged:

     • Hugh Dunkerley, a former COR-executive, was indicted along with Galanis
        as being a key alleged player in the fraud. Mr. Dunkerley's involvement in
        the scheme dates back to 2013, when he incorporated Valor while still at
        COR.
     • Jason Sugarman, is the Founder, Chairman & CEO of Valor(according to
        both an SEC filing and an interview). During the same period, Jason served
        as a paid BANC consultant and continues to be described as an advisor.
        (Note: Jason Sugarman was not named in the complaint or accused of
        wrongdoing.)

    Given these associations, the Tribal Bond Scheme was briefly mentioned in
    Bloomberg's recent profile of BANC's related party dealings. The article
    reported that:

    Steven Sugarman said his company had no role, and there's no direct link
    between Galanis and the bank or its CEO.




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    Mr. Sugarman's assertion is directly contradicted by SEC obtained
    documents and mysteriously deleted COR websites,all of which
    indicate that COR owns Valor.

    1) The sworn declaration of an SEC enforcement attorney (below) states that
    Valor's primary insurance subsidiary (Wealth-Assurance AG) and Burnham
    Financial (the placement agent for the Tribal Bonds Scheme) are among COR's
    family of businesses. The SEC documents also describe Valor as a "strategic
    component of the COR Group."




    (Case 1:15-cv-09764 Document 5)

    2) Valor Group's corporate factsheet also declares COR as its owner and points
    readers to www.corgroupworldwide.com. The site has been deleted, but in late
    2015 the home page (below) included logos of the companies in which "COR
    is a principal investor." Notably included under COR's umbrella are BANC,
    CS Financial (a 2013 BANC acquisition), Valor's Wealth-Assurance and
    Burnham.




    Source: Wayback Machine




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    COR Capital's website (www.corfunds.com) previously included executive
    biographies of Steven Sugarman and Hugh Dunkerly. This website has also
    been completely deleted.

    Experience has taught us that when websites start being erased, it's time to
    start asking serious questions.

    The critical question for BANC shareholders is how Jason Galanis could control
    an offshore insurance company that was simultaneously owned by COR
    Capital, an entity ostensibly led by Steven Sugarman?

    We believe Jason Galanis Controlled COR.

    Our belief is directly supported by the aforementioned SEC enforcement
    attorney's declaration (below) which states it was "understood that Galanis
    was associated with COR Capital.




    Source: Case 1:15-cv-09764

    In a related court transcript (below), the SEC names a "host of other
    companies… [that are] part of the COR Group" and that "all of these
    entities…seem to be controlled by [sic] Jason Galanis."




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    Source: Case 1:15-cv-09764. Note: the above document mis-transcribed
    Jason Galanis as "Chase and Gollanis"

    The same SEC declaration also describes how Galanis installed officers at COR
    portfolio companies to conceal his control. Michelle Morton, an indicted Galanis
    associate who was put in charge of the asset managers "primary contact with
    any of the Galanis-related companies was always Jason Galanis" but "other
    individuals were presented to her as officers of the companies."

    Galanis even used Banc of California to portray his financial wherewithal. SEC
    investigators obtained an email from Galanis that attached a document titled
    "Introduction to COR Capital" that was used to "demonstrate who [the]
    financial sponsors are." BANC of California was featured as the marquee name
    amongst COR companies claimed by Galanis.




    Source: Galanis' COR Capital Document publicly filed by the SEC pursuant to



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    case 1:15-cv-09764.

    But most shocking is that Jason Galanis and Hugh Dunkerley orchestrated the
    Tribal Bond Scheme out of a Burnham officelocated in the same building as
    Banc of California's corporate headquarters.




    Source: Burnham Securities Tribal Bonds Placement Agency Agreement.
    Publicly filed by the SEC pursuant to case 1:15-cv-09764.

    Galanis' demonstrated control over COR's portfolio companies combined with
    his physical presence at BANC's headquarters building, introduces the material
    risk that Galanis also gained control of Banc of California. This risk is amplified
    by the trail of indisputable ties between BANC's senior-most officers and Jason
    Galanis.

    An Off-Balance Sheet Lender Controlled By BANC's Senior-Most
    Officers Financed Galanis.

    In May 2013, BANC acquired an option to purchase a mortgage lender, CS
    Financial ("CS"), from then Board Member, Jeffrey Seabold. As part of the
    deal, Mr. Seabold stepped down from the board to become BANC's Chief
    Lending Officer (and was subsequently promoted to Vice Chairman). In 2014,
    BANC exercised the option to acquire CS for $10 Million.




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    Two former affiliates of CS, Camden Capital Partners ("Camden") and Camden
    Escrow, were not acquired by BANC. In fact, Mr. Seabold'sinitial employment
    agreement specifically carved out his ability to continue to direct these outside
    companies but restricted him from serving as a loan officer (curiously, this
    restriction was lifted in Mr. Seabold's 2015 amended agreement).

    We found that Steven Sugarman holds an undisclosed interest in
    Camden Capital and its managed real estate entity, Camden Real Estate
    Opportunity Fund I, LLC. A May 2015 reconveyance document obtained from
    the L.A. County Deed Records, signed by Jason Sugarman and Jeffrey
    Seabold, lists JAS Partners I, LLC as a managing member of Camden.




    Source: L.A. County Deed Records.

    We retrieved a Delaware "Certificate Of Revival" for JAS Partners 1, LLC filed
    in August of 2014 that is personally signed by Steven Sugarman as the
    Authorized Person (below). Mr. Sugarman's ownership is further confirmed by
    his current FINRA disclosure report, which states that he is the managing
    member and 67% majority owner of JAS Partners I, LLC (also below).




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    Source: Delaware Division of Corporate Records.




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    Camden has been actively transacting with employees and insiders, including
    at least one independent board member. For example, Camden made a
    complex series of loans to one of BANC's top mortgage producers to finance
    this expensive Beverly Hills home.

    The crucial fact is that Steven Sugarman and Jeffrey Seabold are using
    an off-balance sheet entity (Camden) to make loans to insiders.

    But it gets far worse.

    In June 2015, deed records show that Camden made a loan to Jason Galanis in
    the midst of the alleged Tribal Bond Scheme. The loan (below) was secured by
    Galanis' Beverly Hills mansion and was made directly to his Thorsdale
    Fiduciary and Guaranty Company.




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    Source: L.A. County Deed Records. Pictured above is Jason Galanis' Beverly
    Hills mansion that secured the loan.

    According to the SEC, Thorsdale was used as Galanis' "piggy bank" to spend
    ill-gotten proceeds on items such as Prada & Gucci gear. In a post-indictment
    court transcript, John Galanis states that he received funds from
    Thorsdale in 2015 (case 1:15-cr-00643 Document 153).

    An FBI agent attests that Galanis also used Thorsdale to transfer ill-gotten
    funds directly into the Valor Group to finance an acquisition:




    Source: Unsealed Criminal Complaint

    The facts are irrefutable: BANC's senior-most officers financed the
    Galanis' and the entity used as a centerpiece of the Tribal Bonds
    Fraud.




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    In addition, the Justice Department's complaint describes how allegedly ill-
    gotten Tribal Bond proceeds were transferred. In an email supplied by the FBI,
    Bevan Cooney, Galanis' "best friend of 23 years", states that a large transfer
    "went out to Camden Escrow for the down payment for the 1920 bel air
    purchase":




    Source: Unsealed Criminal Complaint

    According to his current Bloomberg profile as well as corporate record
    websites, Mr. Seabold remains the President of Camden Escrow.

    Sugarman and Seabold also used Camden to engage in transactions with
    Galanis-controlled entities during the Gerova fraud.

    Galanis Transferred Gerova Real Estate Assets To Camden

    One of the key alleged facets of the Gerova fraud, which is still subject to civil
    litigation, was that Galanis and his associates stripped tens of millions in real
    estate assets from the Stillwater Funds. Galanis allegedly used Gerova and a
    related entity, Net Five, to enrich himself and insiders by transferring and
    diverting the assets without consideration.




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    Public records indisputably confirm that Galanis' Net Five transferred the Miami
    St. Augustine Hotel to Camden. According to the Stillwater receiver, Camden
    paid just $400k for a property that was appraised for $6.4 Million.




    Source: Miami-Dade County Recorder's Office

    The Stillwater receiver also alleged that Galanis diverted Stillwater's $18.3
    million note on the Pali House Hotel in West Hollywood, CA but said, "It is
    unclear what happened to this loan interest." We discovered that Galanis
    acquired an overt financial interest in the Pali-House Hotel (through his River
    Ranch Assets, LLC).




    Source: L.A. County Deed Records.

    Prior to that, an SEC filed document reveals that a Gerova affiliate transferred
    the Pali-House loan interest to BANC's senior-most officers (through Camden).
    Camden subsequently transferred it to NORe Capital (below), a British Virgin




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    Islands LLC. NORe's Tortola address (which is listed in the Panama Papers),
    matches that of two Galanis-controlled entities (NatProv Holdings and Allius
    Ltd.) as well as that of Valor.




    Source: SEC Filings.

    In a transaction that appears to have monetized the note and sent millions
    offshore, NORe exchanged the Pali-House note for $19 million in shares of a
    now-defunct penny stock named Inspired Builders (OTCPK:ISRB). Inspired
    Builders was registered to COR Capital's address and was formerly managed
    by Carlos Salas, the President ofCOR Clearing (a clearinghouse owned by
    COR).

    Salas' involvement in Inspired Builders, in our opinion, is revealing. COR
    Clearing was fined $1 million by FINRA for Anti-Money Laundering ("AML")
    violations related to OTC securities that occurred during the same time period
    as these transactions. In fact, a COR compliance whistleblower (who Steven
    Sugarman and Carlos Salas allegedly ordered to "stop digging" and engaged in
    "abusive behavior" towards) alleged that the clearing operations were being
    used to "facilitate material or significant money laundering
    activities." (Note: the case was settled in February, 2016. COR, Steven
    Sugarman, and Carlos Salas denied the whistleblower's accusations. Case
    Number: 8:12-cv-00238.)

    That is why we think shareholders should be dismayed to discover that BANC
    has failed to disclose its recent hiring of none other than COR Clearing's Carlos
    Salas in a "Consulting Role as Chief of Staff" to "recommend governance,
    operational and process improvement." The fact that BANC would task the
    former head of a penny stock that engaged in transactions with both Camden
    and Galanis-controlled entities with operational "improvement" is farcical.




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    Importantly, the Camden transactions during both the Tribal Bond Scheme and
    Gerova fraud confirm the long-standing ties between BANC executives and
    Galanis. In light of the Galanis' history of concealing control of financial
    institutions behind undisclosed associates, we believe the indisputable ties
    between BANC's senior-most officers and Galanis increase the material
    probability that Galanis gained control of Banc of California.

    Our concerns are further increased by the board's undisclosed ties to Galanis
    and substantial conflicts of interest.

    BANC's Lead "Independent" Director Has Strong Ties To Jason Galanis

    One of BANC's largest investors, PL Capital, and its principal, Richard Lashley,
    have thoroughly detailed BANC's governance and board independence issues
    in a series of 13D filings (here, here, here). The firm has implored BANC's
    Lead "Independent" Director, Chad Brownstein, to enact governance
    improvements. In return, BANC has sent a subpoena to Mr. Lashley as part of
    a bizarre defamation case and hired a "special counsel" to send (in our
    opinion) a threatening letter to PL Capital.

    Our research indicates that Mr. Brownstein has strong ties to Galanis and is
    actually participating in the very activities he is responsible to independently
    oversee.

    To start with, Mr. Brownstein has received an undisclosed loan from BANC's
    senior-most officers via Camden (below). The 2013 transaction, secured by
    Mr. Brownstein's Los Angeles mansion, appears to finance his outside business
    ventures (as indicated by the address of his trust, which differs from that of
    other deed records). This loan may very well be disqualifying for Mr.
    Brownstein as NYSE independence standards extend to outside dealings
    between management and the board.




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    Source: L.A. County Deed Records.

    Most shockingly, however, are Mr. Brownstein's ties to Jason Galanis and his
    indicted associates. Mr. Brownstein Co-Founded and was Vice-Chairman of
    Prospect Global (PGRX). In it's Gerova Fraud complaint, the SEC plainly states
    that Jason Galanis transferred ill-gotten proceeds to " Prospect Global
    Resources, Inc.," which it defines as a company that Galanis "owned,
    controlled, or was associated with."




    Source: SEC Complaint.




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    In fact, we found that Mr. Brownstein (through an entity he controlled named
    Quincy Prelude, LLC) was one of only four shareholders of Prospect's 2011
    reverse merger entity along withJason Galanis' wife, Monet Berger, and
    Galanis' now-indicted best friend, Bevan Cooney. Devon Archer, also recently
    indicted as an alleged Galanis Tribal Bonds associate, became Prospect's
    Audit-Chair (pictured with Mr. Brownstein below).




    Following the reverse merger, COR engaged in a variety of complex
    transactions with Prospect and, at one point, owned 9% of the company. In a
    2011 agreement signed by Steven Sugarman, COR was awarded additional
    shares in exchange for becoming Prospect's paid IR Consultant and to
    "establish an image for the company in the financial marketplace." Even after
    becoming CEO of BANC, Steven Sugarman publicly promoted Prospect
    Global to investors unaware of Galanis' involvement, and was quoted in
    2013 as touting that:


          "We think Prospect Global is the best potash investment opportunity in
    “     North America"


    We note that shares of Prospect Global are now essentially worthless, leaving
    investors who listened to Mr. Sugarman with massive losses.




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    The bottom line is that BANC's Lead Director, who has approved a
    number of large related party acquisitions under the guise of
    independence, has substantial conflicts of interest and strong ties to
    Jason Galanis, his indicted associates, and COR Capital.

    We also have concerns about the independence and qualifications of each of
    the other Independent Directors (below). It is self-evident, at least in our
    view, that the board cannot be trusted to protect taxpayers, let alone
    investors.

     Director      Role                 Comments


     Jonah          Chairman of         Longtime Partner of Chad Brownstein as co-founders
     Schnel         Enterprise Risk     of ITU Ventures. The LA times reported that large
                                        investors pulled out of ITU Ventures in 2006, "A big
                                        reason: The investors were troubled that the two
                                        partners, Chad Brownstein and Jonah Schnel, solicited
                                        political contributions from the fledgling firms they
                                        financed."




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     Eric           Chairman of         Was named as a potential Advisory Board candidate to
     Holoman        Community           Burnham's asset managers in documents sent by
                    Development         Jason Galanis and obtained by the SEC (below).


     Jeffrey       "Governance and      Given a "special thanks" by Steven Sugarman in the
     Karish        Fiduciary            acknowledgements of The Forewarned Investor. Was
                   Oversight"           Board Member of Digital Turbine with Sugarman in-
                                        law, Peter Guber.


     Halle          "Assessment of      Is a KBW Investment Banker. KBW has been paid
     Bennett        Capital Market      millions by BANC as underwriter of securities offerings.
                    Transactions"       A KBW analyst is also promoting shares to investors
                                        with a "Buy" rating.


     Robert         Chairman of         Was previously CEO of West Coast Bank (Oregon) that
     Sznewajs       Audit Committee     received a FDIC Cease and Desist Order in 2009. The
                                        FDIC cited "management whose policies and practices
                                        are detrimental to the bank" and "a large volume of
                                        poor quality loans."



    We See Similarities Between BANC and The Gerova Financial Fraud

    The last time Galanis gained control of a $1 Billion financial institution was
    during the Gerova Financial fraud. Gerova Financial was an offshore insurance
    company that Jason and John Galanis originally capitalized through secretly
    controlled entities. Galanis then installed associates as executives and used
    Gerova to embark on a series of related party transactions designed to enrich
    insiders. Gerova's balance sheet was riddled with illiquid holdings of asset
    backed loans and hedge fund portfolios that, in turn, were used for regulatory
    capital.

    The giant fraud unraveled after Galanis' involvement in Gerova was
    exposed in a January, 2011 short report and the stock dropped 95%
    before being halted by the NYSE.




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    We see striking similarities between BANC and Gerova:

    Undisclosed Ties To Galanis.

    Our research has firmly established that BANC's CEO, Vice-Chairman, Lead
    Independent Director, and Founding Shareholder all have extensive
    undisclosed ties to Jason Galanis. The fact that Gerova entities even
    transferred real estate assets to BANC executives (through Camden) makes
    the similarities particularly acute.

    Shared Promotional Narratives and Associations With Politicians.

    In wrapping BANC in the flag of "community reinvestment," Steven Sugarman
    has recycled a nearly identical narrative to what Galanis propogated at Gerova
    Financial.

    In the below email exchange (provided below and publicly filed as part of
    litigation), a Gerova-affiliated executive explains to Galanis that they need to
    "get support at Mayoral and Councilman level" and states "we need to pitch
    that we are there to help build and revitalize communities and
    neighborhoods...this should be a great platform for some councilman to look
    really good in the community."

    Galanis discusses political contacts and the executive goes on to tell Galanis
    that,




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          Jay, when we are with Sugarman, we need to get next to his Pal from
    “     Ohio.


    While we don't know which Sugarman is being referenced, Steven Sugarman
    has followed a similar playbook by closely associating Banc of California with a
    variety of high profile politicians.




    Source: Case 1:03-cr-00131




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    In a recently filed letter to employees (which used the word "community" in 25
    seperate instances), Steven Sugarman touts BANC's Community Development
    Committee, which has the support of former LA mayor Antonio Villaraigosa:


          "Mayor Villaraigosa also joined with our directors - led by Eric Holoman
    “     and Chad Brownstein - to form a Community Development Committee of
          our Board to engage with community groups"


    A term sheet sent by Galanis for the purchase of asset managers as part of the
    Tribal Bond Scheme (below and publicly filed by the SEC), stated that he
    would: "introduce suitable candidates to request to serve on the Board of
    Advisors, including an introduction to the former Los Angeles Mayor Antonio
    Villaraigosa and to Mr. Eric Holoman". Galanis' document specifically
    highlighted Mayor Villaraigosa's status as a "senior advisor to Steve Sugarman
    and the Banc of California".




    Source: Case 1:15-cv-09764

    (Note: We do not mean to imply or allege any wrongdoing on the part of
    Mayor Villaraigosa or Mr. Holoman.)

    Large Holdings Of Opaque Assets For Regulatory Capital

    BANC's securities portfolio has grown by nearly $2 Billion since the end of
    2014 and now exceeds 25% of assets. The portfolio includes $1.3 Billion worth
    of level 2 collateralized loan obligations (alternatively described as "structured
    products" in call reports) that have been subject to only sparse disclosure. This
    leaves BANC investors holding a portfolio of non-transparent securities that far
    exceeds the bank's tangible equity.




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    BANC has also expanded into insurance backed lending and insurance
    premium finance (first referenced in its 2013 10-K). BANC has indicated that it
    is providing credit facilities to hedge funds backed by life insurance policies as
    well as other unspecified assets. In light of the Galanis' history of insurance
    fraud and Sugarman's ties to Valor, BANC's foray into the world of insurance
    and hedge fund lending concerns us greatly.

    BANC's expansion into other categories, such as EB-5 escrow, foreign national
    lending, and "no tax return" loans, underpin our worries about BANC's broader
    banking activities. Steven Sugarman, who has no prior banking experience,
    has surrounded himself with a de-facto all-star team from the subprime era.
    BANC's Chief Risk Officer, Chief Investment Officer, Chief Production Officer,
    COO Of Home Loans, Chair of the Audit Committee and a variety of Vice
    Presidents were previously employed at failed or sanctioned lenders.

    A Bevy Of Related Party Transactions That Benefit Insiders

    In becoming one of the fastest growing banks in the country, BANC has
    engaged in a staggering number of related party transactions including CS
    Financial and the soccer stadium naming rights deal. These transactions have
    sent millions in proceeds to Sugarman family members.

    In another notable deal, BANC made an equity investment in an affiliate of St.
    Cloud Capital, a private fund managed by Marshall Geller. Mr. Geller is a
    Director of COR Clearing and an investor(through St. Cloud) in both COR
    Securities Holdings and BANC's recapitalization. While BANC disclosed the
    transaction, it did not mention that Mr. Geller appears to be a business
    associate of Jason Galanis.

    We discovered that Geller is the manager of EGS, LLC, a closely-held entity
    that includes Galanis' VL Assurance (Bermuda) Ltd. as a member (VL
    Assurance is a subsidiary of Valor). Mr. Geller led a 2015 financing of
    Merriman Holdings (where he is also a Director) that sent warrants to VL in the
    months preceding VL's active involvement in the Tribal Bonds Scheme. We
    think that BANC's willingness to use taxpayer-guaranteed deposits to finance
    Mr. Geller is a profound warning sign.




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    Note: Neither Mr. Geller or St. Cloud have been named in Government
    complaints or accused of wrongdoing.

    Red Flags In The Accounting Suite

    Gerova's fraudulent activities were made evident by a series of accounting
    related red flags and executive departures.

    BANC has had near constant turnover in its accounting and finance
    department. Six key financial officers have resigned since 2011, with the most
    recent CFO departing just last month after less than a year on the job.

     Executive          Position     Start Date       Resignation        Comments
                                                      Date

     Marangal           CFO          May 2011         November           8-K filed the day after
     Domingo                                          2012               Christmas. Payment of
                                                                         $75k for consulting
                                                                         services and release of
                                                                         claims against BANC.

     Lonny D            CFO/CAO      November         March 2014
     Robinson                        2012

     Ronald J.          CFO          November         August 2015        Signed a "separation
     Nicolas                         2012                                and settlement"
                                                                         agreement, paid $750k
                                                                         lump sum plus $250k
                                                                         consulting fee.

     Craig S.           Treasurer    November         Unknown            No disclosure of
     Naselow            & CIO        2012                                resignation and
                                                                         disappeared from
                                                                         filings after May 2014.
                                                                         Not listed on webpage
                                                                         after October 2014.




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     Nathan Duda        CAO          March 2014       July 2015          Announcement buried
                                                                         in an 8-K announcing
                                                                         the sale of a bank
                                                                         owned office building.

     James              CFO          November         September          Annoucement buried in
     McKinney                        2015             2016               a press releasetitled
                                                                         "BANC to consolidate
                                                                         office of finance."

     Brian Kuelbs       CIO          November         Present            Former Countrywide
                                     2015                                Capital Markets
                                                                         Executive


    Source: Internal Analysis From Company SEC Filings and Disclosures

    Perhaps most glaring is the 2015 resignation of BANC's long tenured CFO who
    signed a "Separation and Settlement" agreement that paid him $1 million and
    included a release of claims.

    Finally, we note that the bank has a history of delayed financial reporting,
    complex executive compensation packages, recently experienced a sharp
    increase in audit fees, and has had previously disclosed (but since remediated)
    material weaknesses of internal controls.

    Conclusion

    In the Forewarned Investor, Steven Sugarman states:

    "Investors have fallen for the same bag of tricks again and again. This occurs
    despite the fact that every business rogue leaves tracks in the sand. In
    isolation, these signs are usually minor and can be explained away. But viewed
    in their totality, a damning picture emerges."

    The totality of our research establishes that BANC has a broad mosaic of ties
    to the notorious fraudster Jason Galanis. In light of Galanis' demonstrated
    history of secretly gaining control of publicly traded companies and large
    financial institutions, we believe there is a material risk that Galanis gained




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    control of Banc of California. Our belief is strengthened by the striking paralells
    between BANC and Galanis' Gerova Financial which left unsuspecting investors
    with enormous losses as part of a giant fraud.

    As a result, we believe Banc Of California is simply un-investible.

    Investors are strongly encouraged to conduct their own due diligence
    into these factors and to take one more piece of advice from Steven
    Sugarman:


          "The signs of fraud are often uncovered first by a small number of people
    “     who have been watching a company closely. When those people start to
          make their findings public, they may be the voice of the minority, but
          they may have important information to share... Skeptics can come from
          a variety of places. One place to look for them is among short sellers,
          who are betting that a company's stock will decline. When executives
          blame short sellers for the decline in their stock price, you can be
          pretty sure that something else is wrong with the business."


    - The Forewarned Investor, a treatise on identifying corporate fraud co-
    authored by BANC's CEO, Steven Sugarman

    Disclosure: I am/we are short BANC.




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  Banc of California, Inc. ○
  Oct 18, 2016, 19:05 ET




  IRVINE, Calif., Oct. 18, 2016 /PRNewswire/ -- Banc of California, Inc. (NYSE: BANC)
  today announced it is aware of allegations posted in a financial blog. The
  Company's Board of Directors has been aware of matters relating to Jason Galanis
  including certain claims he had made suggesting an affiliation with members of
  the Company, its Board, and/or its Executive team. The Board, acting through its
  Disinterested Directors, immediately initiated a thorough independent
  investigation led by Winston & Strawn, and has received regular reports including
  related to regulatory and governmental communications over the past year.


  The complaint filed by the Department of Justice against Mr. Galanis and others
  dated May 9, 2016, which is found here, clearly states that Mr. Galanis' claims to be
  affiliated with COR Capital were fraudulent. See paragraphs 40 and 41 of the
  Sworn Statement of the Special Agent of the Federal Bureau of Investigation which
  states:

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http://www.prnewswire.com/news-releases/banc-of-california-update-300347196.html   9/5/2017
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  "40. Based on my conversation with a representative of COR Capital, I have learned
  that, contrary to the representations made in the June 3, 2014 email sent by JASON
  GALANIS, the defendant, to MICHELE MORTON, the defendant, (referenced in
  paragraph 39c above), Burnham, CORFA and Wealth-Assurance AG were not
  affiliates of COR Capital.


  41. Based on my review of documents, I have learned that on June 3, 2014, JASON
  GALANIS, the defendant, sent an email to BEVAN COONEY, the defendant, which
  forwarded the email JASON GALANIS sent to MICHELLE MORTON, the defendant,
  earlier that same day, attaching the description of COR Capital which fraudulently
  asserted that certain entities were affiliates of COR Capital. In JASON GALANIS's
  email to COONEY, JASON GALANIS wrote "whoring it out shamelessly[.] thank you
  [first name of COR Capital representative.]"


  Banc of California and its Disinterested Directors will make further facts publicly
  available as appropriate.


  About Banc of California, Inc.
  Banc of California, Inc. (NYSE: BANC) provides comprehensive banking services to
  California's diverse businesses, entrepreneurs and communities. Banc of California
  operates over 100 offices in California and the West.


  Forward-Looking Statements
  This press release includes forward-looking statements within the meaning of the
  "Safe-Harbor" provisions of the Private Securities Litigation Reform Act of 1995.
  These statements are necessarily subject to risk and uncertainty and actual results
  could differ materially from those anticipated due to various factors, including
  those set forth from time to time in the documents filed or furnished by Banc of
  California, Inc. with the Securities and Exchange Commission. You should not place
  undue reliance on forward-looking statements and Banc of California, Inc.
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  undertakes no obligation to update any such statements to reflect circumstances
  or events that occur after the date on which the forward-looking statement is
  made.


   Investor Relations Inquiries:      Media Inquiries:
   Banc of California, Inc.           Vectis Strategies
   Timothy Sedabres, (855) 361-2262   David Herbst, (213) 973-4113 x101




  SOURCE Banc of California, Inc.


  Related Links

  http://bancofcal.com




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  Banc of California Reports Record
  Third Quarter Earnings


  NEWS PROVIDED BY
  Banc of California, Inc. ○
  Oct 19, 2016, 06:00 ET




  IRVINE, Calif., Oct. 19, 2016 /PRNewswire/ -- Banc of California, Inc. (NYSE: BANC)
  today reported record quarterly net income of $35.9 million for the third quarter of
  2016, resulting in earnings per share of $0.59 for the quarter, fully diluted. Third
  quarter net income increased 147% compared to the third quarter of 2015. Net
  income available to common shareholders for the third quarter was $30.8 million,
  an increase of 168% compared to the third quarter of 2015.


  Highlights for the quarter included:




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      • Record quarterly deposit growth of $1.1 billion, or 15%, and annual deposit
        growth of $3.7 billion, or 67%.
      • Quarterly loan production of $2.6 billion, driven by quarterly commercial
        banking segment loan and lease originations of $1.1 billion, an increase of 44%
        from a year ago.
      • Held for investment loan growth of $333 million for the third quarter, an
        increase of $1.8 billion, or 39% from a year ago
      • The Company's return on average assets for the quarter was 1.3% and its
        return on average tangible common equity for the quarter was 19.5%.


  The Company finished the quarter with consolidated assets totaling $11.2 billion, an
  increase of $1.1 billion, or 10%, compared to the prior quarter, and an increase of
  $4.0 billion, or 55%, compared to a year ago.


  "Our third quarter financial performance showcases the strong credit discipline
  and growing earnings power of our franchise," said Steven Sugarman, Chairman
  and Chief Executive Officer of Banc of California. "We remain focused on ensuring
  that as we grow, we maintain the controls, culture and values that are making
  Banc of California great. We continue to see meaningful opportunities to capture
  market share by empowering California through its diverse businesses,
  entrepreneurs and communities."


  During the quarter, Banc of California grew its recurring net interest income by
  $5.9 million, or 7% from the prior quarter, grew total deposits by $1.1 billion,
  increased held for investment loans by $333 million, or 5% from the prior quarter
  and reduced FHLB borrowings by $160 million or 17% from the prior quarter.




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  "We continue to see growth in assets, deposits and loans across our business units.
  Our consistent progress has now resulted in our franchise meeting or exceeding all
  of our stated financial targets for 2016, including return on tangible common
  equity over 15% and return on assets over 1%," said Francisco Turner, Chief Strategy
  Officer of Banc of California.


  "We have built and strengthened our balance sheet and liquidity position,
  supported by the strong deposit inflows we continued to experience in the third
  quarter," said James McKinney, Chief Financial Officer of Banc of California. "We
  maintain a strong capital position and have implemented numerous sources of
  contingent capital including our increased holding company line of credit. As of
  the end of the third quarter, we now maintain over $7 billion of contingent
  liquidity to support Banc of California's balance sheet and to adequately serve all of
  the diverse needs of our clients. I could not be prouder of the success we have
  made in ensuring a strong and durable balance sheet with the best possible
  liquidity to withstand diverse market conditions."


  The Company also announced that it has accelerated the date of its conference
  call to discuss third quarter financial results to Wednesday, October 19, 2016 at 7:00
  a.m. Pacific Time (PT). Interested parties are welcome to attend the conference call
  by dialing 888-317-6003, and referencing event code 8186667. A live audio webcast
  will also be available and the webcast link will be posted on the Company's
  Investor Relations website at www.bancofcal.com/investor. The slide presentation
  for the call will also be available on the Company's Investor Relations website prior
  to the call.


  About Banc of California, Inc.


  Banc of California, Inc. (NYSE: BANC) provides comprehensive banking services to
  California's diverse businesses, entrepreneurs and communities. Banc of California
  operates over 100 offices in California and the West.                                       T




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  Forward-Looking Statements


  This press release includes forward-looking statements within the meaning of the
  "Safe-Harbor" provisions of the Private Securities Litigation Reform Act of 1995.
  These statements are necessarily subject to risk and uncertainty and actual results
  could differ materially from those anticipated due to various factors, including
  those set forth from time to time in the documents filed or furnished by Banc of
  California, Inc. with the Securities and Exchange Commission. You should not place
  undue reliance on forward-looking statements and Banc of California, Inc.
  undertakes no obligation to update any such statements to reflect circumstances
  or events that occur after the date on which the forward-looking statement is
  made.


   INVESTOR RELATIONS INQUIRIES:      MEDIA INQUIRIES:
   Banc of California, Inc.           Vectis Strategies
   Timothy Sedabres, (855) 361-2262   David Herbst, (213) 973-4113 x101




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   Banc of California, Inc.
   Consolidated Statements of Financial Condition
   (Dollars in thousands)
   (Unaudited)


                                                    September 30,         June 30,       March 31,       December 31,     September 30,
                                                         2016              2016               2016           2015             2015

                           ASSETS
   Cash and cash equivalents                        $     372,603     $     271,732      $    215,012    $    156,124     $    378,963
   Time deposits in financial institutions                   1,500            1,500             1,500           1,500            1,900
   Securities available for sale                         1,941,588        1,302,785          1,663,711        833,596          693,219
   Securities held to maturity                            962,315           962,282           962,262         962,203          529,532
   Loans held for sale                                    846,844           893,782           863,944         668,841          596,565
   Loans and leases receivable                           6,568,791        6,236,115          5,463,068       5,184,394        4,730,077
   Allowance for loan and lease losses                     (40,233)         (37,483)          (35,845)        (35,533)         (34,774)
   Federal Home Loan Bank and other bank stock             69,190            81,115            61,146          59,069           40,643
   Servicing rights, net                                   63,843            53,650            49,406          50,727           41,646
   Other real estate owned, net                                 275               429             325           1,097                34
   Premises and equipment, net                            133,228           120,755           114,668         111,539           34,689
   Goodwill                                                39,244            39,244            39,244          39,244           39,244
   Other intangible assets, net                            15,335            16,514            17,836          19,158           20,504
   Deferred income tax                                          408           7,270             7,441          11,341           13,388
   Income tax receivable                                   12,487             5,904                  -              604          2,649
   Bank-owned life insurance investment                   101,909           101,314           100,734         100,171           99,570

   Other assets                                           127,077           100,754            92,520          71,480           68,961

      Total assets                                  $ 11,216,404      $ 10,157,662       $ 9,616,972     $ 8,235,555      $   7,256,810



   LIABILITIES AND STOCKHOLDERS' EQUITY
   Deposits
      Noninterest-bearing deposits                  $    1,267,363    $ 1,093,686        $ 1,398,728     $ 1,121,124      $   1,011,169

      Interest-bearing deposits                          7,810,956        6,835,270          5,438,873       5,181,961        4,410,821

           Total deposits                                9,078,319        7,928,956          6,837,601       6,303,085        5,421,990
   Advances from Federal Home Loan Bank                   770,000           930,000          1,195,000        930,000          830,000
   Securities sold under repurchase agreements                    -                  -        257,100                 -                  -
   Other borrowings                                        49,903                    -               -                -                  -
   Notes payable, net                                     176,579           177,743           260,896         261,876          262,779
   Reserve for loss on repurchased loans                   11,369            10,438             9,781           9,700            9,098
   Income taxes payable                                         908                  -         12,303           1,241            5,939

   Accrued expenses and other liabilities                 157,902           170,641           176,761          77,248           83,470

      Total liabilities                                 10,244,980        9,217,778          8,749,442       7,583,150        6,613,276
      Commitments and contingent liabilities                                                                                         




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   Preferred stock, Series A, non-cumulative
   perpetual                                                    -               -       31,934         31,934          31,934
   Preferred stock, Series B, non-cumulative
   perpetual                                                    -               -       10,000         10,000          10,000
   Preferred stock, Series C, 8.00% non-cumulative
   perpetual                                               37,943         37,943        37,943         37,943          37,943
   Preferred stock, Series D, 7.375% non-
   cumulative perpetual                                   110,873        110,873       110,873        110,873         110,873
   Preferred stock, Series E, 7.00% non-cumulative
   perpetual                                              120,255        120,255       120,258              -                 -
   Common stock                                              536             510           454           395              393
   Common stock, class B non-voting non-
   convertible                                                  2              2             1              1                 -
   Additional paid-in capital                             611,069        608,303       509,123        429,790         427,599
   Retained earnings                                      112,751         88,385        73,179         63,534          52,277
   Treasury stock                                         (29,070)       (29,070)      (29,070)       (29,070)        (29,070)
   Accumulated other comprehensive income/
   (loss), net                                              7,065          2,683         2,835         (2,995)          1,585

      Total stockholders' equity                          971,424        939,884       867,530        652,405         643,534

      Total liabilities and stockholders' equity     $ 11,216,404    $ 10,157,662   $ 9,616,972   $ 8,235,555    $   7,256,810




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   Banc of California, Inc.
   Consolidated Statements of Operations
   (Dollars in thousands, except per share data)
   (Unaudited)


                                                          Three Months Ended                                      Nine Months End

                         September 30,         June 30,       March 31,    December 31,     September 30,    September 30,    Septem
                              2016              2016             2016          2015             2015             2016             20

   Interest and
   dividend income
      Loans,
      including fees     $       80,370    $       73,743    $    67,144   $     62,248     $     60,454     $    221,257     $
      Securities                 19,934            19,393         16,047         11,163            5,054           55,374
      Dividends and
      other interest-
      earning assets              1,931             1,504          1,049              788          1,007            4,484

            Total
            interest
            and
            dividend
            income              102,235            94,640         84,240         74,199           66,515          281,115
   Interest expense
      Deposits                   11,224             8,385          8,107          6,862            6,395           27,716
      Federal Home
      Loan Bank
      advances                    1,413             1,966          1,262              890              587          4,641
      Securities sold
      under
      repurchase
      agreements                     48                389          160               15                3               597
      Notes payable
      and other
      interest-bearing
      liabilities                 2,589             2,863          4,294          4,366            3,980            9,746

            Total
            interest
            expense              15,274            13,603         13,823         12,133           10,965           42,700

   Net interest income           86,961            81,037         70,417         62,066           55,550          238,415
   Provision for loan
   and lease losses               2,592             1,769           321           1,260                735          4,682

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   Net interest income
   after provision for
   loan and lease
   losses                  84,369   79,268    70,096       60,806      54,815      233,733
   Noninterest income
      Customer
      service fees          1,566    1,173      848          957        1,118        3,587
      Loan servicing
      (loss) income         2,096   (3,347)   (5,288)       3,663       (2,254)     (6,539)
      Net gain on
      sale of
      securities
      available for
      sale                   487    12,824    16,789        1,510       1,750       30,100
      Net gain on
      sale of loans        11,063    2,147     2,195       15,164       9,737       15,405
      Mortgage
      banking income       50,159   43,795    33,684       30,334      37,015      127,638
      Advisory
      service fees              -     510       997         1,942       2,294        1,507
      Loan brokerage
      income                1,384     759       874          678          660        3,017
      Gain on sale of
      building                  -        -         -            -            -           -
      All other
      income                7,875    7,743     1,860        2,571         407       17,478

             Total
             noninterest
             income        74,630   65,604    51,959       56,819      50,727      192,193
   Noninterest
   expense
      Salaries and
      employee
      benefits             68,033   61,022    57,183       54,008      53,215      186,238
      Occupancy and
      equipment            12,728   11,943    11,740       11,200      10,109       36,411
      Professional
      fees                  6,732    6,763     6,212        4,808       5,261       19,707
      Data
      processing            2,837    2,838     2,194        2,104       2,170        7,869




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      Loss on
      investments in
      alternative
      energy
      partnerships,
      net                      17,660              -            -            -            -        17,660
      Amortization of
      intangible
      assets                    1,179          1,322        1,322        1,346        1,401         3,823            4
      All other
      expenses                 15,093         16,187       10,449       13,193        9,587        41,729           30

            Total
            noninterest
            expense           124,262        100,075       89,100       86,659       81,743       313,437       245

   Income before
   income taxes                34,737         44,797       32,955       30,966       23,799       112,489           73
   Income tax
   (benefit) expense           (1,200)        18,269       13,268       11,928        9,263        30,337           30

   Net income                  35,937         26,528       19,687       19,038       14,536        82,152           43
   Preferred stock
   dividends                    5,112          5,114        4,575        3,030        3,040        14,801            6

   Net income
   available to
   common
   stockholders           $    30,825    $    21,414   $   15,112   $   16,008   $   11,496   $    67,351   $       36



   Basic earnings per
   total common
   share                  $      0.60    $      0.44   $     0.36   $     0.40   $     0.29   $      1.42   $
   Diluted earnings
   per total common
   share                  $      0.59    $      0.43   $     0.36   $     0.39   $     0.29   $      1.40   $
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   Banc of California, Inc.
   Selected Financial Data
   (Dollars in thousands)
   (Unaudited)


                                                      Three Months Ended                                    Nine Months Ended

                       September 30,       June 30,       March 31,    December 31,    September 30,   September 30,   Septemb
                             2016           2016            2016           2015            2015            2016            201

   Average
   balances
      Total assets     $ 10,860,257      $ 10,061,237    $ 8,833,176   $ 7,590,781     $   6,681,590   $   9,921,657   $   6,29
      Total gross
      loans and
      leases                 7,245,472     6,663,340       5,995,436       5,531,539       5,271,293       6,636,978       5,22
      Investment
      Securities             2,776,304     2,696,524       2,128,882       1,506,626        828,326        2,534,788           53
      Total interest
      earning
      assets                10,432,247     9,619,937       8,344,167       7,264,341       6,449,862       9,468,979       6,04
      Total
      interest-
      bearing
      deposits               7,164,061     5,696,893       5,332,032       4,685,145       4,314,330       6,068,343       4,16
      Total
      borrowings             1,297,382     2,067,234       1,309,710       1,141,554        745,959        1,557,157           65
      Total interest
      bearing
      liabilities            8,461,443     7,764,127       6,641,742       5,826,699       5,060,289       7,625,500       4,81
      Total
      stockholders'
      equity                  968,684        898,164        762,923         654,106         645,713         876,922            59
   Profitability
   and other
   ratios
      Return on
      average
      assets(1)                  1.32%          1.06%          0.90%           1.00%           0.86%           1.11%
      Return on
      average
      equity (1)                14.76%        11.88%          10.38%          11.55%           8.93%          12.51%

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     Return on
     average
     tangible
     common
     equity(2)        19.51%      15.65%     14.46%      16.57%       12.25%       16.84%       1
     Dividend
     payout ratio
     (3)
                      20.00%      27.27%     33.33%      30.00%       41.38%       25.35%       3
     Net interest
     spread            3.18%       3.26%      3.22%       3.22%        3.23%        3.22%
     Net interest
     margin(1)         3.32%       3.39%      3.39%       3.39%        3.42%        3.36%
     Noninterest
     income to
     total revenue
     (4)              46.18%      44.74%     42.46%      47.79%       47.73%       44.63%       5
     Noninterest
     income to
     average total
     assets(1)         2.73%       2.62%      2.37%       2.97%        3.01%        2.59%
     Noninterest
     expense to
     average total
     assets(1)         4.55%       4.00%      4.06%       4.53%        4.85%        4.22%
     Efficiency
     ratio(5)         76.90%      68.24%     72.81%      72.89%       76.92%       72.79%       7
     Adjusted
     efficiency
     ratio for
     including the
     pre-tax
     effect of
     investments
     in alternative
     energy
     partnerships
     (2) , (5)        62.38%      68.24%     72.81%      72.89%       76.92%       67.23%       7
     Average
     held for
     investment
     loans and
     leases to
     average                                                                                    
                                                                                                
   deposits          75 92%      82 88%     79 76%      86 88%       86 03%       79 27%
                                                                                               8




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                                                                                                             
      Average
      investment
      securities to
      average total
      assets              25.56%       26.80%       24.10%       19.85%       12.40%       25.55%
      Average
      stockholders'
      equity to
      average total
      assets               8.92%        8.93%        8.64%        8.62%        9.66%        8.84%
   Allowance for
   loan and lease
   losses (ALLL)
      Balance at
      beginning of
      period          $   37,483   $   35,845   $   35,533   $   34,774   $   34,787   $   35,533    $       2
      Loans and
      leases
      charged off          (393)        (772)        (102)        (718)        (788)       (1,267)           (1
      Recoveries            551          641           93          217           40         1,285
      Provision for
      loan and
      lease losses         2,592        1,769         321         1,260         735         4,682

      Balance at
      end of
      period          $   40,233   $   37,483   $   35,845   $   35,533   $   34,774   $   40,233    $       3

      Annualized
      net loan
      charge-offs
      to average
        total gross
      loans held
      for
      investment          -0.01%        0.01%        0.00%        0.04%        0.07%       -0.01%
   Reserve for
   loss on
   repurchased
   loans
      Balance at
      beginning of
      period          $   10,438   $    9,781   $    9,700   $    9,098   $    9,411   $    9,700    $
      Provision for
      loan                                                                                                   
                                                                                                             
   repurchases            1 241         851          379          735          716         2 471
                                                                                                         


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      Change in
      estimates                     -                 -              -              846                    -                -
      Utilization of
      reserve for
      loan
      repurchases              (310)             (194)           (298)            (979)            (1,029)             (802)            (2,82

      Balance at
      end of
      period           $      11,369     $     10,438     $     9,781     $       9,700     $       9,098      $      11,369     $       9,0



   (1) Ratios are presented on an annualized basis.
   (2) Non-GAAP measure. See Non-GAAP measures section for reconciliation of the calculation.
   (3) Dividends declared per common share divided by basic earnings per share.
   (4) Total revenue is equal to the sum of net interest income before provision and noninterest income.
   (5) The ratios were calculated by dividing noninterest expense by the sum of net interest income before provision for loan and lease losses
   and noninterest income.
                                                                                                                                     




                                                                                                                                       




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   Banc of California, Inc.
   Selected Financial Data, Continued
   (Dollars in thousands)
   (Unaudited)


                                                     September 30,        June 30,       March 31,      December 31,   September 30,
                                                         2016              2016              2016           2015           2015

   Asset quality information and ratios
   30 to 89 days delinquent, excluding PCI loans     $     39,054     $      50,494      $    36,022    $    39,946    $     48,550

   90+ days delinquent, excluding PCI loans                22,827            28,675           27,469         23,338          23,725

      Total delinquent loans, excluding PCI loans          61,881            79,169           63,491         63,284          72,275

   PCI loans, 30 to 89 days delinquent                     39,113            48,255           44,191         40,291          17,593

   PCI loans, 90+ days delinquent                           6,145             8,952            9,806          6,894           6,223

      Total delinquent PCI loans                           45,258            57,207           53,997         47,185          23,816

      Total delinquent loans                         $    107,139     $     136,376      $   117,488    $   110,469    $     96,091

      Total delinquent non-PCI loans to total non-
      PCI loans                                             1.04%             1.44%            1.33%           1.42%          1.66%
      Total delinquent loans to gross loans                 1.63%             2.19%            2.15%           2.13%          2.03%


   Non-performing loans, excluding PCI loans         $     35,223     $      45,012      $    44,216    $    45,129    $     45,188
   90+ days delinquent and still accruing loans,
       excluding PCI loans                                        -                  -              -              -               -

   Other real estate owned                                      275               429           325           1,097               34

   Non-performing assets                             $     35,498     $      45,441      $    44,541    $    46,226    $     45,222

   ALLL to non-performing loans                           114.22%            83.27%           81.07%          78.74%         76.95%
   Non-performing loans to gross loans                      0.54%             0.72%            0.81%           0.87%          0.96%
   Non-performing assets to total assets                    0.32%             0.45%            0.46%           0.56%          0.62%


   Troubled Debt Restructings (TDRs)
      Performing TDRs                                $     11,160     $      14,450      $    15,128    $     7,842    $      9,378

      Non-performing TDRs                                       520           2,864            2,545          1,970           2,017

        Total TDRs                                   $     11,680     $      17,314      $    17,673    $     9,812    $     11,395




                                                                                                                                  




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   Banc of California, Inc.
   Selected Financial Data, Continued
   (Dollars in thousands)
   (Unaudited)


                                                    September 30,        June 30,        March 31,      December 31,     September 30,
                                                        2016              2016               2016           2015             2015

   Loan and lease breakdown by ALLL
   evaluation type
      Originated loans and leases
            Individually evaluated for impairment   $     22,306     $      25,661      $     26,565    $     30,654     $     31,008
            Collectively evaluated for impairment       4,789,155        4,254,975          3,484,995       3,117,528        2,776,601
      Acquired loans not impaired at acquisition
            Individually evaluated for impairment          3,397             3,470             3,530           3,629            1,704
            Collectively evaluated for impairment        958,135         1,022,696          1,079,711       1,124,874        1,174,573
      Seasoned SFR mortgage loan pools - non-
      impaired
            Individually evaluated for impairment          6,581             9,717             9,287                 -                -
            Collectively evaluated for impairment        146,850           168,352           175,004         194,978          373,634

      Acquired with deteriorated credit quality          642,367           751,244           683,976         712,731          372,557

            Total loans                             $   6,568,791    $ 6,236,115        $ 5,463,068     $ 5,184,394      $   4,730,077

   ALLL breakdown
      Originated loans and leases
            Individually evaluated for impairment   $          137   $           215    $        365    $          369   $          512
            Collectively evaluated for impairment         37,858            34,575            32,202          32,713           31,419
      Acquired loans not impaired at acquisition
            Individually evaluated for impairment                -                  -               -                -                -
            Collectively evaluated for impairment          1,606             1,458             2,061           2,245            2,637
      Seasoned SFR mortgage loan pools - non-
      impaired
            Individually evaluated for impairment              528           1,131             1,011                 -                -
            Collectively evaluated for impairment                -                  -               -                -                -

      Acquired with deteriorated credit quality                104               104             206               206              206

            Total ALLL                              $     40,233     $      37,483      $     35,845    $     35,533     $     34,774

   Discount on Purchased/Acquired Loans
      Acquired loans not impaired at acquisition    $     18,400     $      20,136      $     20,781    $     21,366     $     21,759
      Seasoned SFR mortgage loan pools - non-
      impaired                                             9,789            11,304            11,862          12,545           27,699

      Acquired with deteriorated credit quality           57,780            76,505            66,573          68,372           41,280

            Total Discount                          $     85,969     $     107,945      $     99,216    $    102,283     $     90,738

   Ratios                                                                                                                           




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     To originated loans and leases:
         Individually evaluated for impairment                0.61%            0.84%           1.37%      1.20%   1.65%
         Collectively evaluated for impairment                0.79%            0.81%           0.92%      1.05%   1.13%
         Total ALLL                                           0.79%            0.81%           0.93%      1.05%   1.14%
     To originated loans and leases and acquired
     loans
       not impaired at acquisition:
         Individually evaluated for impairment                0.53%            0.74%           1.21%      1.08%   1.57%
         Collectively evaluated for impairment                0.69%            0.68%           0.75%      0.82%   0.86%
         Total ALLL                                           0.69%            0.68%           0.75%      0.83%   0.87%
         Total ALLL and discount (1)                          1.00%            1.06%           1.21%      1.33%   1.41%
     To total loans and leases:
         Individually evaluated for impairment                2.06%            3.46%           3.49%      1.08%   1.57%
         Collectively evaluated for impairment                0.67%            0.66%           0.72%      0.79%   0.79%
         Total ALLL                                           0.61%            0.60%           0.66%      0.69%   0.74%
         Total ALLL and discount      (1)                     1.92%            2.33%           2.47%      2.66%   2.65%


     (1) The ratios were calculated by dividing a sum of ALLL and discounts by carrying value of loans.




                                                                                                                   




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   Banc of California, Inc.
   Selected Financial Data, Continued
   (Dollars in thousands)
   (Unaudited)


                                              September 30,         June 30,     March 31,      December 31,      September 30,
                                                  2016               2016            2016           2015              2015

   Composition of held for investment loans
   and leases
      Commercial real estate                  $    721,838      $     725,107   $    713,693    $    727,707      $    690,862
      Multi-family                                1,199,207         1,147,597       1,021,097        904,300           823,415
      Construction                                  99,086             86,852         68,241          55,289            39,475
      Commercial and industrial                   1,531,041         1,306,866        983,961         876,999           822,690
      SBA                                           67,737             65,477         71,640          57,706            52,985

      Lease financing                              234,540            228,663        212,836         192,424           162,504

            Total commercial loans                3,853,449         3,560,562       3,071,468       2,814,425         2,591,931

      Single family residential mortgage          2,601,375         2,555,344       2,282,445       2,255,584         2,013,450

      Other consumer                               113,967            120,209        109,155         114,385           124,696

            Total consumer loans                  2,715,342         2,675,553       2,391,600       2,369,969         2,138,146

            Total gross loans and leases      $   6,568,791     $ 6,236,115     $ 5,463,068     $ 5,184,394       $   4,730,077

   Composition percentage of held for
   investment loans
      and leases
      Commercial real estate                          11.0%             11.6%           13.1%           14.0%             14.6%
      Multi-family                                    18.3%             18.4%           18.7%           17.4%             17.4%
      Construction                                       1.5%            1.4%            1.2%              1.1%              0.8%
      Commercial and industrial                       23.3%             21.0%           18.0%           16.9%             17.4%
      SBA                                                1.0%            1.0%            1.3%              1.1%              1.1%

      Lease financing                                    3.6%            3.7%            3.9%              3.7%              3.4%

            Total commercial loans                    58.7%             57.1%           56.2%           54.2%             54.7%

      Single family residential mortgage              39.6%             41.0%           41.8%           43.6%             42.7%

      Other consumer                                     1.7%            1.9%            2.0%              2.2%              2.6%

            Total consumer loans                      41.3%             42.9%           43.8%           45.8%             45.3%

            Total gross loans and leases             100.0%            100.0%          100.0%          100.0%            100.0%

   Composition of deposits
      Noninterest-bearing checking            $   1,267,363     $ 1,093,686     $ 1,398,728     $ 1,121,124       $   1,011,169
      Interest-bearing checking                   2,369,332         2,053,656       2,052,507       1,697,055         1,458,208
      Money market                                2,900,248         2,343,561       1,534,492       1,479,931         1,238,180
      Savings                                      880,712            909,242        844,177         823,618           814,230

      Certificates of deposit                     1,660,664         1,528,811       1,007,697       1,181,357          900,203

            Total deposits                    $   9,078,319     $ 7,928,956     $ 6,837,601     $ 6,303,085       $         
                                                                                                                      5,421,990




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   Composition percentage of deposits
      Noninterest-bearing checking           14.0%       13.8%      20.5%       17.8%        18.6%
      Interest-bearing checking              26.1%       25.9%      30.0%       26.8%        26.9%
      Money market                           31.9%       29.5%      22.4%       23.5%        22.8%
      Savings                                 9.7%       11.5%      12.3%       13.1%        15.0%

      Certificates of deposit                18.3%       19.3%      14.8%       18.8%        16.7%

           Total deposits                   100.0%      100.0%     100.0%      100.0%       100.0%




                                                                                              
                                                                                            


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                                                                                                                                         
   Banc of California, Inc.
   Average Balance, Average Yield Earned, and Average Cost Paid
   (Dollars in thousands)
   (Unaudited)


                                                                                 Three Months Ended

                                           September 30, 2016                         June 30, 2016                          March 31, 201

                                      Average                     Yield        Average                    Yield        Average
                                      Balance          Interest   / Cost       Balance         Interest   / Cost       Balance     Interes

   Interest earning assets
    Loans held for sale and
    SFR mortgage                  $ 2,618,879      $ 24,365       3.70%    $ 2,428,168     $ 22,488       3.72%    $ 2,144,834     $ 19,80
    Seasoned SFR
    mortgage loan pools                 907,387         11,924    5.23%         878,068         12,404    5.68%         876,142     12,71
    Commercial real estate,
    multi-family, and
    construction                       2,033,718        23,097    4.52%        1,907,649        21,049    4.44%        1,760,646    19,81
    Commercial and
    industrial, SBA, and
    lease financing                    1,576,379        19,734    4.98%        1,343,961        16,642    4.98%        1,105,971    13,66

    Other consumer                      109,109          1,250    4.56%         105,494          1,160    4.42%         107,843      1,14

         Gross loans and
         leases                        7,245,472        80,370    4.41%        6,663,340        73,743    4.45%        5,995,436    67,144
         Securities                    2,776,304        19,934    2.86%        2,696,524        19,393    2.89%        2,128,882    16,04
         Other interest-
         earning assets                 410,471          1,931    1.87%         260,073          1,504    2.33%         219,849      1,04

                   Total
                   interest-
                   earning
                   assets             10,432,247       102,235    3.90%        9,619,937        94,640    3.96%        8,344,167    84,24
         Allowance for loan
         and lease losses               (38,258)                                (37,637)                                (35,575)
         BOLI and non-
         interest earning
         assets                         466,268                                 478,937                                 524,584

                   Total assets   $ 10,860,257                             $ 10,061,237                            $ 8,833,176



   Interest-bearing
   liabilities
    Savings                       $     887,973    $     1,704    0.76%    $    866,051    $     1,603    0.74%    $    834,965    $ 1,572
    Interest-bearing checking          2,300,128         3,972    0.69%        1,981,702         3,135    0.64%        1,900,834       
                                                                                                                                         
                                                                                                                                     3,244

                                                                                                                                  


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    Certificates of deposit            1,548,604        2,322     0.60%        1,176,478           1,685    0.58%       1,158,901         1,612

          Total interest-
          bearing deposits             7,164,061      11,224      0.62%        5,696,893           8,385    0.59%       5,332,032         8,107
    FHLB advances                      1,104,663        1,413     0.51%        1,663,791           1,966    0.48%         955,659         1,262
    Securities sold under
    repurchase agreements                 12,539           48     1.52%          210,299            389     0.74%          90,395           160
    Long-term debt and
    other interest-bearing
    liabilities                          180,180        2,589     5.72%          193,144           2,863    5.96%         263,656         4,294

          Total interest-
          bearing liabilities          8,461,443      15,274      0.72%        7,764,127          13,603    0.70%       6,641,742       13,823
    Noninterest-bearing
    deposits                           1,178,849                               1,205,987                                1,230,991
    Non-interest-bearing
    liabilities                          251,281                                 192,959                                  197,520

          Total liabilities            9,891,573                               9,163,073                                8,070,253
          Total stockholders'
          equity                         968,684                                 898,164                                  762,923

                   Total
                   liabilities and
                   stockholders'
                   equity            $ 10,860,257                           $ 10,061,237                              $ 8,833,176



   Net interest
   income/spread                                    $ 86,961      3.18%                      $ 81,037       3.26%                      $ 70,417



   Net interest margin                                            3.32%                                     3.39%


   Ratio of interest-earning
   assets to interest-bearing
   liabilities                           123.29%                                 123.90%                                  125.63%


   Total deposits                    $ 8,342,910    $ 11,224      0.54%     $ 6,902,880       $    8,385    0.49%     $ 6,563,023      $ 8,107
   Total funding   (1)               $ 9,640,292    $ 15,274      0.63%     $ 8,970,114       $ 13,603      0.61%     $ 7,872,733      $ 13,823


   (1) Total funding is the sum of interest-bearing liabilities and noninterest-bearing deposits. The cost of total funding is calculated as annual
   total interest expense divided by average total funding.


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   Banc of California, Inc.
   Average Balance, Average Yield Earned, and Average Cost Paid, Continued
   (Dollars in thousands)
   (Unaudited)


                                                                                  Three Months Ended

                                                             December 31, 2015                         September 30, 2015

                                                       Average                      Yield        Average                       Yield
                                                       Balance       Interest       / Cost       Balance        Interest       / Cost

   Interest earning assets
    Loans held for sale and SFR mortgage           $ 1,903,331       $ 17,584       3.67%    $ 1,966,373       $ 18,123        3.66%
    Seasoned SFR mortgage loan pools                     858,601         12,098     5.59%          689,666         10,901      6.27%
    Commercial real estate, multi-family, and
    construction                                        1,638,329        19,006     4.60%         1,568,975        17,643      4.46%
    Commercial and industrial, SBA, and lease
    financing                                           1,020,306        12,754     4.96%          914,811         12,125      5.26%

    Other consumer                                       110,972           806      2.88%          131,468          1,662      5.02%

          Gross loans and leases                        5,531,539        62,248     4.46%         5,271,293        60,454      4.55%
          Securities                                    1,506,626        11,163     2.94%          828,326          5,054      2.42%

          Other interest-earning assets                  226,176           788      1.38%          350,243          1,007      1.14%

                   Total interest-earning assets        7,264,341        74,199     4.05%         6,449,862        66,515      4.09%
          Allowance for loan and lease losses            (35,894)                                  (34,810)

          BOLI and non-interest earning assets           362,334                                   266,538

                   Total assets                    $ 7,590,781                               $ 6,681,590



   Interest-bearing liabilities
    Savings                                        $     805,445     $    1,538     0.76%    $     832,006     $    1,575      0.75%
    Interest-bearing checking                           1,475,461         2,663     0.72%         1,282,066         2,273      0.70%
    Money market                                        1,343,683         1,267     0.37%         1,294,554         1,337      0.41%

    Certificates of deposit                             1,060,556         1,394     0.52%          905,704          1,210      0.53%

          Total interest-bearing deposits               4,685,145         6,862     0.58%         4,314,330         6,395      0.59%
    FHLB advances                                        869,457           890      0.41%          476,848           587       0.49%
    Securities sold under repurchase
    agreements                                             7,010            15      0.85%            2,681                 3   0.44%
    Long-term debt and other interest-bearing
    liabilities                                          265,087          4,366     6.53%          266,430          3,980      5.93%

          Total interest-bearing liabilities            5,826,699        12,133     0.83%         5,060,289        10,965      0.86%
    Noninterest-bearing deposits                        1,037,966                                  916,670

    Non-interest-bearing liabilities                      72,010                                    58,918

          Total liabilities                             6,936,675                                 6,035,877

          Total stockholders' equity                     654,106                                   645,713
                                                                                                                                 




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                  Total liabilities and
                  stockholders' equity                 $ 7,590,781                                     $ 6,681,590



   Net interest income/spread                                              $ 62,066        3.22%                           $ 55,550        3.23%


   Net interest margin                                                                     3.39%                                           3.42%


   Ratio of interest-earning assets to interest-
   bearing liabilities                                      124.67%                                         127.46%


   Total deposits                                      $ 5,723,111         $   6,862       0.48%       $ 5,231,000         $   6,395       0.49%
   Total funding (1)                                   $ 6,864,665         $ 12,133        0.70%       $ 5,976,959         $ 10,965        0.73%


   (1) Total funding is the sum of interest-bearing liabilities and noninterest-bearing deposits. The cost of total funding is calculated as
   annualized total interest expense divided by average total funding.




                                                                                                                                               




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   Banc of California, Inc.
   Average Balance, Average Yield Earned, and Average Cost Paid, Continued
   (Dollars in thousands)
   (Unaudited)


                                                                                  Nine Months Ended

                                                            September 30, 2016                        September 30, 2015

                                                       Average                     Yield         Average                      Yield
                                                       Balance       Interest      / Cost        Balance       Interest       / Cost

   Interest earning assets
    Loans held for sale and SFR mortgage           $ 2,398,101      $ 66,661        3.71%    $ 1,931,759      $ 54,584        3.78%
    Seasoned SFR mortgage loan pools                     887,273         37,037     5.58%          624,642         30,004     6.42%
    Commercial real estate, multi-family, and
    construction                                        1,901,157        63,962     4.49%         1,790,108        61,703     4.61%
    Commercial and industrial, SBA, and lease
    financing                                           1,342,959        50,041     4.98%          729,529         28,234     5.17%

    Other consumer                                       107,488          3,556     4.42%          146,252          4,783     4.37%

          Gross loans and leases                        6,636,978       221,257     4.45%         5,222,290       179,308     4.59%
          Securities                                    2,534,788        55,374     2.92%          530,124          9,100     2.30%

          Other interest-earning assets                  297,213          4,484     2.02%          293,891          3,731     1.70%

                   Total interest-earning assets        9,468,979       281,115     3.97%         6,046,305       192,139     4.25%
          Allowance for loan and lease losses            (37,161)                                  (31,312)

          BOLI and non-interest earning assets           489,839                                   276,543

                   Total assets                    $ 9,921,657                               $ 6,291,536



   Interest-bearing liabilities
    Savings                                        $     863,088    $     4,878     0.75%    $     881,273    $     4,929     0.75%
    Interest-bearing checking                           2,061,761        10,352     0.67%         1,113,267         6,309     0.76%
    Money market                                        1,847,906         6,867     0.50%         1,177,538         3,324     0.38%

    Certificates of deposit                             1,295,588         5,619     0.58%          988,274          4,359     0.59%

          Total interest-bearing deposits               6,068,343        27,716     0.61%         4,160,352        18,921     0.61%
    FHLB advances                                       1,240,872         4,641     0.50%          446,571          1,230     0.37%
    Securities sold under repurchase
    agreements                                           104,076           597      0.77%              903                3   0.44%
    Long-term debt and other interest-bearing
    liabilities                                          212,209          9,746     6.13%          208,252         10,334     6.63%

          Total interest-bearing liabilities            7,625,500        42,700     0.75%         4,816,078        30,488     0.85%
    Noninterest-bearing deposits                        1,205,179                                  820,385

    Non-interest-bearing liabilities                     214,056                                    56,738

          Total liabilities                             9,044,735                                 5,693,201

          Total stockholders' equity                     876,922                                   598,335                      




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                  Total liabilities and
                  stockholders' equity                 $ 9,921,657                                     $ 6,291,536



   Net interest income/spread                                              $ 238,415       3.22%                           $ 161,651       3.40%


   Net interest margin                                                                     3.36%                                           3.57%


   Ratio of interest-earning assets to interest-
   bearing liabilities                                        124.18%                                       125.54%


   Total deposits                                      $ 7,273,522         $ 27,716        0.51%       $ 4,980,737         $ 18,921        0.51%
   Total funding (1)                                   $ 8,830,679         $ 42,700        0.65%       $ 5,636,463         $ 30,488        0.72%


   (1) Total funding is the sum of interest-bearing liabilities and noninterest-bearing deposits. The cost of total funding is calculated as
   annualized total interest expense divided by average total funding.




   Banc of California, Inc.
   Capital Ratios
   (Unaudited)


                                                   September 30,     June 30,     March 31,     December 31,      September 30,
                                                       2016             2016        2016            2015               2015

   Capital Ratios
      Banc of California, Inc.
            Total risk-based capital ratio                12.79%        13.45%       13.59%            11.18%              12.56%
            Tier 1 risk-based capital ratio               12.54%        13.14%       13.17%            10.71%              12.06%
            Common equity tier 1 capital ratio             8.85%        9.16%          8.14%             7.36%              8.19%
            Tier 1 leverage ratio                          8.47%        8.87%          9.27%             8.07%              8.97%
      Banc of California, NA
            Total risk-based capital ratio                14.38%        14.96%       14.03%            13.45%              14.93%
            Tier 1 risk-based capital ratio               13.83%        14.38%       13.42%            12.79%              14.19%
            Common equity tier 1 capital ratio            13.83%        14.38%       13.42%            12.79%              14.19%
            Tier 1 leverage ratio                          9.31%        9.70%          9.44%             9.64%             10.53%




                                                                                                                                               




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   Banc of California, Inc.
   Non-GAAP Measures
   (Dollars in thousands, except per share data)
   (Unaudited)


   Non-GAAP performance measure:
   Tangible equity to tangible assets, tangible common equity to tangible assets ratios, return on average tangible common equity, and
   adjusted efficiency ratio are supplemental financial information determined by a method other than in accordance with U.S. generally
   accepted accounting principles (GAAP). These non-GAAP measures are used by management in the analysis of Banc of California,
   Inc.'s capital strength and performance of businesses. Tangible equity is calculated by subtracting goodwill and other intangible assets
   from total stockholders' equity and tangible common equity is calculated by subtracting preferred stock from tangible equity. Banking
   and financial institution regulators also exclude goodwill and other intangible assets from total stockholders' equity when assessing the
   capital adequacy of a financial institution. Adjusted efficiency ratio is calucated by subtracting loss on investments in alternative energy
   partnerships from noninterest expense and adding total pretax return, which includes the loss on investments in alternative energy
   partnerships, from investments in alternative energy partnerships to noninterest income.. Management believes the presentation of
   these financial measures excluding the impact of these items provides useful supplemental information that is essential to a proper
   understanding of the capital and financial strength of Banc of California, Inc. This disclosure should not be viewed as a substitution for
   results determined in accordance with GAAP, nor is it necessarily comparable to non-GAAP performance measures that may be
   presented by other companies.


   The following tables reconcile this non-GAAP performance measures to the GAAP performance measures for the periods indicated:


                                           September 30,            June 30,           March 31,         December 31,          September 30,
                                                 2016                  2016                2016                2015                 2015

   Tangible common equity to
   tangible assets ratio
    Total assets                             $ 11,216,404          $ 10,157,662        $ 9,616,972         $ 8,235,555          $    7,256,810
    Less goodwill                                  (39,244)             (39,244)            (39,244)            (39,244)              (39,244)

    Less other intangible assets                   (15,335)             (16,514)            (17,836)            (19,158)              (20,504)

         Tangible assets                     $ 11,161,825          $ 10,101,904        $ 9,559,892         $ 8,177,153          $    7,197,062



    Total stockholders' equity               $     971,424         $    939,884        $    867,530        $     652,405        $      643,534
    Less goodwill                                  (39,244)             (39,244)            (39,244)            (39,244)              (39,244)

    Less other intangible assets                   (15,335)             (16,514)            (17,836)            (19,158)              (20,504)

      Tangible equity                              916,845              884,126             810,450              594,003               583,786

      Less preferred stock                        (269,071)            (269,071)           (311,008)           (190,750)             (190,750)

         Tangible common equity              $     647,774         $    615,055        $    499,442        $     403,253        $      393,036



    Total stockholders' equity to total
    assets                                              8.66%                 9.25%           9.02%                   7.92%                8.87%
    Tangible equity to tangible
    assets                                              8.21%                 8.75%           8.48%                   7.26%                  
                                                                                                                                           8.11%




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   Tangible common equity to
   tangible assets                           5.80%            6.09%         5.22%            4.93%            5.46%


   Common stock outstanding             49,531,321       49,478,348   43,907,587        38,002,267       37,751,445
   Class B non-voting non-
   convertible common stock
     outstanding                          201,922          161,841         91,066          37,355                 -

       Total common stock
       outstanding                      49,733,243       49,640,189   43,998,653        38,039,622       37,751,445

   Minimum number of shares
   issuable under
     purchase contracts (1)               188,742          218,928        253,155         601,299          828,246

   Total common stock outstanding
   and shares issuable
     under purchase contracts           49,921,985       49,859,117   44,251,808        38,640,921       38,579,691



       (1) Purchase contracts
       relating to the tangible
       equity units


   Tangible common equity per
   common stock                     $       13.02    $       12.39    $     11.35   $       10.60    $       10.41
   Book value per common stock      $       14.12    $        13.51   $     12.65   $       12.14    $       11.99


   Tangible common equity per
   common stock and
   shares issuable under purchase
   contracts                        $       12.98    $       12.34    $     11.29   $       10.44    $       10.19
   Book value per common stock
   and shares issuable under
   purchase contracts               $       14.07    $       13.45    $     12.58   $       11.95    $       11.74




                                                                                                                
                                                                                                              


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   Banc of California, Inc.
                                                                                                                                     
   Non-GAAP Measures, Continued
   (Dollars in thousands, except per share data)
   (Unaudited)
                                                            Three Months Ended                                        Nine Months En

                          September 30,          June 30,           March 31,    December 31,    September 30,   September 30,   Sep
                               2016                2016              2016            2015            2015            2016

   Return on tangible
   common equity
      Average total
      stockholders'
      equity               $     968,684     $      898,164     $     762,923    $    654,106    $    645,713    $    876,922    $
      Less average
      preferred stock          (269,071)           (269,073)        (260,959)        (190,750)       (190,750)       (266,377)
      Less average
      goodwill                   (39,244)           (39,244)         (39,244)         (39,244)        (31,674)        (39,244)
      Less average
      other intangible
      assets                     (16,039)           (17,299)         (18,601)         (19,877)        (21,320)        (17,308)

           Average
           tangible
           common
           equity          $     644,330     $      572,548     $     444,119    $    404,235    $    401,969    $    553,993    $



      Net income           $      35,937     $       26,528     $      19,687    $     19,038    $     14,536    $     82,152    $
      Less preferred
      stock dividends             (5,112)            (5,114)           (4,575)         (3,030)         (3,040)        (14,801)
      Add amortization
      of intangible
      assets                       1,179              1,322             1,322           1,346           1,401           3,823
      Add impairment
      on intangible
      assets                            -                   -                -               -               -               -
      Less tax effect
      on amortization
      and impairment
        of intangible
      assets (1)                    (413)              (463)            (463)            (471)           (490)         (1,338)

           Net income
           available to
           common
           stockholders    $      31,591     $       22,273     $      15,971    $     16,883    $     12,407    $     69,836    $   
                                                                                                                                     
                                                                                                                                


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                                                                                                                                    
   Return on average
   equity                          14.76%            11.88%             10.38%         11.55%          8.93%          12.51%
   Return on average
   tangible common
   equity                          19.51%            15.65%             14.46%         16.57%         12.25%          16.84%


      (1) Utilized a 35% effective tax rate


                                                             Three Months Ended                                      Nine Months En

                           September 30,          June 30,           March 31,   December 31,   September 30,   September 30,   Sep
                                2016               2016               2016           2015           2015            2016

   Adjusted efficiency
   ratio for including
   the pre-tax effect
      of investments
   in alternative
   energy
   partnerships
      Noninterest
      expense              $      124,262     $     100,075      $      89,100   $    86,659    $     81,743    $    313,437    $
      Loss on
      investments in
      alternative
      energy
      partnerships, net           (17,660)                   -               -              -              -         (17,660)

            Adjusted
            noninterest
            expense        $      106,602     $     100,075      $      89,100   $    86,659    $     81,743    $    295,777    $



      Net interest
      income               $       86,961     $      81,037      $      70,417   $    62,066    $     55,550    $    238,415    $
      Noninterest
      income                       74,630            65,604             51,959        56,819          50,727         192,193

      Total revenue               161,591           146,641            122,376       118,885         106,277         430,608
      Tax credit from
      investments in
      alternative
         energy
      partnerships                 19,357                    -               -              -              -          19,357




                                                                                                                                    
                                                                                                                                    
                                                                                                                               


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     Deferred tax
     expense on
     investments in
     alternative
       energy
     partnerships                 (3,387)                 -             -             -             -        (3,387)
     Tax effect on tax
     credit and
     deferred tax
     expense(1)                   11,002                  -             -             -             -        11,002
     Loss on
     investments in
     alternative
     energy
     partnerships, net          (17,660)                  -             -             -             -       (17,660)

     Total pre-tax
     adjustemnts for
     investments in
     alternative
       energy
     partnerships                  9,312                  -             -             -             -         9,312

          Total
          adjusted
          revenue         $      170,903        $   146,641   $   122,376   $   118,885   $   106,277   $   439,920    $       3



     Efficiency ratio             76.90%             68.24%        72.81%        72.89%        76.92%        72.79%
     Adjusted
     efficiency ratio
     for excluding the
     effect of
     investments in
     alternative
     energy
     partnerships                 62.38%             68.24%        72.81%        72.89%        76.92%        67.23%


     (1) Utilized a 40.79% effective tax rate
                                                                                                                      




  SOURCE Banc of California, Inc.
                                                                                                                           




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  Related Links

  http://bancofcal.com




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                   EXHIBIT 5
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Banc of California Board Provides Update on Independent Investigation; Plans
Improvements to Corporate Governance Policies
Company Release - 01/23/2017 08:29

IRVINE, Calif., Jan. 23, 2017 /PRNewswire/ -- Banc of California, Inc. (the "Company") (NYSE: BANC) today issued the
following update on the independent investigation into previously disclosed blogger allegations.

Robert D. Sznewajs, current Chair of the Joint Audit Committee and new Chairman of the Board said: "The matters which
were the subject of the Special Committee investigation do not bear upon the Company's operating results or financial
condition, and Banc of California remains well positioned to continue to fulfill its mission and vision as California´s Bank."

On October 18, 2016, an anonymous blog post raised questions about related party transactions and other issues with
respect to the Company. As previously disclosed, in response to these allegations, the Board formed a Special
Committee which commenced a process to review the allegations. Shortly thereafter, on October 27, 2016, the
Company's independent auditor, KPMG, sent a letter to Mr. Sznewajs in his capacity as Chair of the Company's Joint
Audit Committee (the "KPMG Letter") raising concerns about allegations of "inappropriate relationships with third parties"
and "potential undisclosed related party relationships."

On October 30, 2016, the Special Committee retained WilmerHale, a law firm with no prior relationship with the Company,
to conduct an independent investigation to address certain issues raised by the blog post, as well as questions raised by
the KPMG Letter. In accordance with the KPMG Letter, WilmerHale will make a final report to the Special Committee and
KPMG on the results of its investigation. The Special Committee expects that this final report will take place within weeks.

While certain work remains to be completed, to date WilmerHale's inquiry has not found any violation of law. In addition,
contrary to the claims in the blog post, the inquiry has not found evidence that Jason Galanis has any direct or indirect
control or undue influence over the Company. Furthermore, the inquiry has not found evidence establishing that any loan,
related party transaction, or any other circumstance has impaired the independence of any director.

Through the inquiry, however, the Special Committee has determined that a press release issued on October 18, 2016
contained inaccurate statements. In that press release, the Company stated that the "Board of Directors, acting through
its Disinterested Directors" had, as of October 18, 2016, investigated issues raised in the blog post. This press release
was inaccurate in certain respects. The review established that although an investigation had been conducted, it was not
initiated by the Board of Directors; rather, it appears to have been directed by Company management rather than any
subset of independent directors. In addition, the press release characterized the investigation as "independent" without
disclosing that the law firm conducting the investigation had previously represented both the Company and the
Company's CEO individually. Furthermore, the press release stated that the Board or a group of "Disinterested Directors"
had received "regular reports including related to regulatory and governmental communications." This overstated both the
degree to which the Company had been in contact with regulatory agencies about the subject matter referenced in the
blog post, as well as the involvement of the directors in oversight or direction of the inquiry.

Related to this matter, on January 12, 2017, the Securities and Exchange Commission ("SEC") issued a formal order of
investigation directed at certain of the issues that the Special Committee is reviewing. Also on January 12, 2017, the SEC
issued a subpoena seeking certain documents from the Company, primarily relating to the October 18, 2016 press
release and associated public statements. The Company intends to fully cooperate with the SEC; in addition, the Special
Committee will share the results of its review with the SEC staff.

The Company expects to report fourth quarter financial results on Monday, January 30. The Company currently expects
to timely file its Annual Report on Form 10-K for the year ended December 31, 2016 and the Company intends to file its
unaudited Quarterly Report on Form 10-Q for the quarter ended September 30, 2016 on or prior to timely filing its 10-K.

Changes in Corporate Governance Policies
The Board is in the process of considering various measures to enhance its overall corporate governance. The Board has
separated the roles of Board Chair and Chief Executive Officer, effective immediately. In addition, the Board approved a
separation of the Compensation, Nominating and Corporate Governance Committee into two separate committees; one
focusing on compensation matters and one on governance matters. At the Board's direction, the Company is in the
process of preparing a more rigorous policy to govern review and approval of proposed related party transactions. Further
changes in corporate governance may be implemented as the Board continues its review.

About Banc of California, Inc.
Banc of California, Inc. (NYSE: BANC) provides comprehensive banking services to California's diverse businesses,
entrepreneurs and communities. Banc of California operates over 100 offices in California and the West. The Company
was recently recognized by Forbes for the second straight year as one of the 100 Best Banks in America for 2017.

Forward-Looking Statements
This press release includes forward-looking statements within the meaning of the "Safe-Harbor" provisions of the Private
Securities Litigation Reform Act of 1995. These statements are necessarily subjct to risk and uncertainty and actual
results could differ materially from those anticipated due to various factors. You should not place undue reliance on
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forward-looking                             Document
                statements and Banc of California,        16-1 Filed
                                                   Inc. undertakes        09/28/18
                                                                   no obligation        Page
                                                                                 to update      84 of
                                                                                           any such    130 Page
                                                                                                    statements         ID
                                                                                                               to reflect
circumstances or events that occur after the date on which#:191
                                                           the forward-looking statement is made.



 Investor Relations Inquiries:      Media Inquiries:

 Banc of California, Inc.           Abernathy MacGregor

 Timothy Sedabres, (855) 361-2262   Ian Campbell / Joe Hixson / Kristin Cole, (213) 630-6550

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To view the original version on PR Newswire, visit:http://www.prnewswire.com/news-releases/banc-of-california-board-
provides-update-on-independent-investigation-plans-improvements-to-corporate-governance-policies-300394631.html

SOURCE Banc of California, Inc.



                                            Click here for Printer-Friendly Version
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                   EXHIBIT 6
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                                  #:193
                                                                                                      Valentina Judge
                                                                                                      Senior Paralegal
                                                                                            Office of General Counsel
                                                                                                Phone: 202.728.8850
                                                                                                   Fax: 202.728.8894
                                                                                            valentina.judge@finra.org




         April 30, 2018

         Via FINRA Secure File Share

         Manuel A. Abascal, Esq.
         Latham & Watkins LLP
         355 South Grand Avenue, Suite 100
         Los Angeles, CA 90071

         Re:       In re Banc of California Securities Litigation, United States District Court for the
                   Central District of California, Civil Action No. 8:17-cv-00118

         Dear Mr. Abascal:

              In further response to the third-party subpoena served on FINRA in the above-referenced
         proceeding (the “Subpoena”), please find with this letter a zipped file containing options transactions
         and holdings data, and equities order data pertaining to Banc of California (BANC:NYSE) securities
         for the period September 1, 2016 though January 30, 2017 (the “Relevant Period”). Also enclosed
         is a Declaration of FINRA’s Custodian of Records. The original hard copy of the Declaration will be
         sent separately, via U.S. Mail.

             The documents can be accessed through the secure link included in the email transmission.
         Please let me know if you have any issues opening the file.

              Additional details about the enclosed documents can be found below. Please review this
         information prior to opening the enclosed files.

         OPTIONS DATA

               1. COATS Data Sep012016 through Jan302017 (DIVER).xlsx [Sorted by Event Dt and Rep
                  Trd Time] (options trades)
               2. COATS Data Fields and Definitions (DIVER) Apr092018.pdf
               3. OCC LPOR (Large Options Position Report) Data Sep012016 through Jan302017
                  (DIVER).pdf [Sorted by Event Dt and Effective Dt] (options holdings)
               4. OCC LOPR Data Fields and Definitions Apr092018 (DIVER).pdf

               Please be advised of the following:
               • The LOPR data set contains personal and confidential information (“PCI”) of individuals,
                   including but not limited to account numbers, tax identification numbers, and addresses.
                   FINRA has redacted this information pursuant to its internal policies as well as the California
                   Evidence Code.
               • The LOPR data represents a minimum reporting threshold of 200 aggregate contracts on
                   the same side of the market, so there is a chance that an account may hold small positions
                   that would not appear on LOPR. Once the aggregate size of all positions for the account,
                   or accounts acting in-concert, exceed 200 contracts for the same side of the market and
                   underlying, then all positions for that account, or accounts acting in-concert have to be
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                reported for that underlying and side of the market. We should also note that LOPR also
                contains Conventional (OTC) Option positions, however, short contracts where the issuer
                is the same as the underlying may not be reported, as they do not meet the definition of
                “Option” under FINRA Rule 2360(a)(21).

         OATS DATA

         Data Retrieval Instructions

            1. Six zipped data files are included in this delivery for the Relevant Period:
                   a. NEW_ORDERS Part1.zip and NEW_ORDERS Part2.zip files contain data where
                       the Event Type Code is equal to New (event_type_cd = ‘NW’), Combined
                       Order/Route (event_type_cd = ‘OR’), Cancel/Replace (event_type_cd = ‘CR’), or
                       Combined Order/Execution (event_type_cd = ‘OE’). [1599 zip files]
                   b. PROCESS_ORDERS.zip file contains data where the Event Type Code is equal
                       to Desk (Event Type Code = ‘DS’), Route (Event Type Code = ‘RT’), Cancel
                       (Event Type Code = ‘CL’) or Execution (Event Type Code = ‘EX’) report. [1756
                         zip files]
                    c.  EXCTN_MTCH.zip file contains Execution Match data where the Execution dates
                        are the requested dates listed above and has been matched to TRF Trade report.
                        [26 zip files]
                    d. RTNG_MTCH.zip file contains Routing Match data where the Order Sent dates
                        are the requested dates listed above and has been matched to Exchange Order
                        for the requested symbol and dates. [275 zip files]
                    e. OATS_OLA_LINK.zip file contains linkages between firm to firm routing where
                        OATS ROE IDs exist in the New Order data and the Link Publish Availability
                        Dates and OATS Processing Dates are the requested dates listed above. [545
                        zip files]
            2. The following five data dictionary files and one column heading file are also included in
               the enclosed materials:
                    a. The “OATS NEW_ORDERS Data Dictionary (vATS) May162017.pdf” file contains
                        the data dictionary for attributes (data elements) for new orders.
                    b. The “OATS PROCESS_ORDERS Data Dictionary (vATS) May162017.pdf” file
                        contains the data dictionary for attributes (data elements) for process orders.
                    c. The “OATS EXCTN_MTCH Data Dictionary May152017.pdf” file contains the
                        data dictionary for attributes (data elements) for execution matches data.
                    d. The “OATS Routing Match Data Dictionary Aug072017.pdf” file contains the data
                        dictionary for attributes (data elements) for routing matches data.
                    e. The “OATS_OLA_LINK Data Dictionary Jul072017.pdf” file contains the data
                        dictionary for attributes (data elements) for OLA (Order Lifecycle Assembly) data.
                    f. The “Header File for all five OATS data types.xlsx” file contains column heading
                        for all five data types described above in item 1 (stored in five tabs).
            3. All data files are compressed in the .gz format.
                    a. Data fields were delimited by special character “ctrl-A” (”\001”) (without quotes).
                    b. Cell value "\N" (without quotes) means no value was populated for the field.
            4. Individual data files can be opened with the following steps:
                    a. Copy the data file to a local location.
                    b. Right click on the file, then select "Open with", then pick "WinZip", this will bring
                        up the WinZip screen.
                    c. Click OK when you see the message “Please enter the full name of the file
                        contained …”
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                     d. From the WinZip screen, click on 1-Click Unzip, a temporary file (in text file
                        format) with the same name will pop up in the same folder you started with.
                     e. Drag the temp file to “Notepad++” or open it in “Notepad++”
                     f. Copy SHO, then select “Replace” Under “Search”
                     g. Paste SHO (you can only see a block size of three characters without content on
                        the screen) into the “Find what” area and type in “\t” (this is the TAB delimiter) in
                        the “Replace with” area. Make sure “Extended” is selected under Search Mode.
                              i. This process may take a long time, depending on the file size.
                             ii. If the file size is relatively large, you may need to exercise the
                                 replacement procedure multiple times – use a block of data (e.g. 22,500
                                 records/rows) each time.
                     h. Click on “Replace all” – this will take some time for a large file.
                     i. Save the file in txt format.
                     j. Open the file in Excel with “tab” delimited.

         Data Linkage Instructions

         The following table explains how to link the individual primary order event to the related secondary
         event:

         event_type_cd = OR, NW, CR, OE                          event_type_cd = RT, DS, CL, EX
         firm_order_id                                           firm_order_id
         order_rcvd_dt                                           order_rcvd_dt
         ns_cstmr_id                                             ns_cstmr_id

         In the event an order was cancelled/replaced (Event Type Code is equal to CR), to determine the
         “replaced” order, the following fields must be linked together:

                      event_type_cd = CR                         event_type_cd = NW, OR, OE, CR
          rplcd_firm_ordr_id                                firm_order_id
          rplcd_ordr_rcvd_dt                                order_rcvd_dt
          ns_cstmr_id                                       ns_cstmr_id

         In order to follow a lifecycle of an order that was routed to another Member Firm (Event Type
         Code is equal to RT or OR), the following fields must be linked together:

                     event_type_cd = RT or                       event_type_cd = NW, OR, OE, CR
          firm_order_id                                     drvd_rt_frm_ord_id
          order_rcvd_dt                                     drvd_rtng_firm_dt
          ns_cstmr_id                                       rtng_ns_cstmr_id


         Other

              Please be advised, FINRA has redacted personal and confidential information (“PCI”) of non-
         claimant customers and other persons contained in the enclosed materials, including but not limited
         to, account numbers, social security numbers, dates of birth, residential addresses, and/or phone
         numbers. To the extent that any PCI has been inadvertently produced, FINRA expects that the
         parties will notify FINRA and that the information will not be used or disclosed.
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             The enclosed documents are being produced in response to the Subpoena, and are FINRA
         confidential business records. FINRA expects the parties to safeguard these documents, keep them
         non-public, and use them only in this proceeding.

              FINRA does not intend to waive the attorney-client, investigative file, work product, trial
         preparation, or any other applicable privileges in connection with any inadvertent production of
         documents made in response to the Subpoena. If you identify any documents in FINRA’s
         production that appear to be potentially privileged, FINRA requests to be notified immediately and
         that the applicable documents be returned to FINRA.

             This completes FINRA’s response to the Subpoena. This letter does not waive any additional
         objections that FINRA could choose to assert in the future. If you have any questions, please feel
         free to contact me.

         Very truly yours,




         Valentina Judge


         Enclosures

         Cc:     Andrew Gray, Esq.
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                   EXHIBIT 7
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                                         #:199
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                               Castalian Partners Value Fund LP, c/o Harvard Business Services, Inc.,
                                              16192 Coastal Highway, Lewes Delaware 19958
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Metro Legal Services, Inc., 330                        Date and Time:
           Second Ave. South, Ste. 150, Minneapolis, MN 55401,                                               08/08/2018 9:00 am
           (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.

            2.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.
            3.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            4.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            5.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            6.     “Banc Securities” means any security, financial interest, preferred share, common

 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

                           ATTACHMENT A TO SUBPOENA (DOCUMENTS) TO CASTALIAN PARTNERS
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 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         7.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.

         8.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.
         9.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         10.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         11.     “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         12.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         13.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

         14.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

                        ATTACHMENT A TO SUBPOENA (DOCUMENTS) TO CASTALIAN PARTNERS
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 consultants, internal and external attorneys, or any other person acting on their behalf.

        15.      “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.

        16.      “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

        17.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

                        ATTACHMENT A TO SUBPOENA (DOCUMENTS) TO CASTALIAN PARTNERS
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 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.

         18.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.
         19.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         20.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         21.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         22.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

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 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         23.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES and with respect to Castalian Partners Value Fund, LP, any individual or entity

 which invested in or owns a financial interest in Castalian Partners Value Fund, LP.

         24.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         25.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

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 consultants, internal and external attorneys, or any other person acting on their behalf.

         28.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         29.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.

         30.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.
         31.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         32.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         33.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         34.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

         35.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

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 2016.

         36.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.

         37.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.
         38.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         39.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         40.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         41.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         42.      “You,” or “your” means (a) Castalian Partners Value Fund, LP; (b) any owned,

 operated or affiliated predecessors, successors, parents, subsidiaries, affiliates, divisions,

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 advisors, partnerships, funds, investment vehicles owned, controlled by, associated with

 Castalian Partners Value Fund, LP or in which Castalian Partners Value Fund, LP invested

 (collectively “Castalian Affiliates”); and (c) any directors, officers, employees, agents, advisors,

 representatives, and all other persons acting or purporting to act on behalf of Castalian Partners

 Value Fund, LP or Castalian Affiliates.

        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS
        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.

        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

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                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;
                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and

                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

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 request.

           8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

 herein.

 III.      RELEVANT TIME PERIOD

           Unless otherwise specifically indicated, the requests herein refer to the period from

 October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

 information that relate to such period, even though prepared or published outside of the Relevant

 Period. If a document prepared before this period is necessary for a correct or complete

 understanding of any document covered by a request, you must produce the earlier document as

 well. If any document is undated and the date of its preparation cannot be determined, the

 document shall be produced if otherwise responsive to the request.
 IV.       DOCUMENT REQUESTS

           REQUEST NO. 1:

           All COMMUNICATIONS with BANC, or third parties representing BANC in connection

 with the COMMUNICATION, including without limitation:

                • Non-disclosure agreements;

                • Due diligence materials obtained from BANC;

                • Documents regarding potential investments in BANC;

                • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

                • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

           REQUEST NO. 2:

           All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

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 including without limitation:

             • The total position YOU held in BANC SECURITIES at the end of the trading day

                of October 17, 2016;

             • The total amount of put options YOU held in BANC SECURITIES at the end of the

                trading day of October 17, 2016;

             • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

                and throughout the Relevant Period; and

             • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

                put options YOU held in BANC SECURITIES that were set to expire on or after

                October 21, 2016.

         REQUEST NO. 3:
         All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

  in any TRANSACTIONS in BANC SECURITIES including without limitation:

             • All investment memorandum, emails, models, and other analysis relating to

                TRANSACTIONS in BANC SECURITIES;

             • All investment committee minutes, resolutions or other COMMUNICATIONS

                regarding any TRANSACTION in BANC SECURITIES; and

             • All research, investigations, analysis or reports prepared by YOU, private

                investigators, investigation research firms or other third parties regarding BANC,

                GALANIS, or any ALLEGED GALANIS ENTITY.

         REQUEST NO. 4:

         All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

 BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

 AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

 relating to AURELIUS’s identity.

         REQUEST NO. 5:

         All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

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 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

        REQUEST NO. 6:
       All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

 GALANIS or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 7:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

       REQUEST NO. 8:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

 LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

 Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

 LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

 Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

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 BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

 SUGARMAN.

        REQUEST NO. 9:

        All CORRESPONDENCE with any of the following people or entities from 2013 to the

 present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

 Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

 Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

 MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

 BLOOMBERG NEWS (or its journalists), or FIG PARTNERS.

        REQUEST NO. 10:
        All CORRESPONDENCE with any of the following people or entities: GALANIS, John

 Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

 Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.

        REQUEST NO. 11:

        All INVESTORS in YOU as of October 18, 2016, including contact information sufficient

 to identify the principals, addresses, and contact information associated with the INVESTOR.




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                    EXHIBIT 8
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                                          #:216
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
        In re Banc of California Securities Litigation
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. SACV 17-00118 AG (DFMx)
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                James Gibson, LLC 200 Water Street, Suite 200 Excelsior, MN 55331

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: First Legal Records c/o Metro Legal Services, Inc., 330                        Date and Time:
           Second Ave. South, Ste. 150, Minneapolis, MN 55401,                                               08/08/2018 9:00 am
           (877) 591-9979

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/17/2018

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Kristen M. Tuey
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Defendant Steven A. Sugarman                                            , who issues or requests this subpoena, are:
Latham & Watkins LLP, 355 S. Grand Ave., Ste 100, Los Angeles, CA 90071, 213.485.1234, kristen.tuey@lw.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. SACV 17-00118 AG (DFMx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           ATTACHMENT A

 I.         DEFINITIONS

            Unless otherwise stated, the terms set forth below are defined as follows:

            1.     “Gibson,” “you,” or “your” shall mean James Gibson and any employees,

 agents, advisors, representatives, consultants, attorneys, and all other persons acting or

 purporting to act on your behalf.

            2.     “Affiliate” shall mean a person that directly, or indirectly through one or more

 intermediaries, controls or is controlled by, or is under common control with, the person

 specified.
            3.     “And” and “or” shall be construed either disjunctively or conjunctively, as

 necessary by the context, to bring within the scope of the definition, instruction, or request all

 responses that might otherwise be construed to be outside of its scope by any other construction.

            4.     The terms “all,” “any,” and “each” shall each be construed as encompassing any

 and all.

            5.     “Aurelius” shall mean the author listed on the byline of the blog

 post entitled “BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-

 Investible,” posted on the website SeekingAlpha.com on October 18, 2016.

            6.     “Banc” shall collectively refer to Defendant Banc of California, Inc., Banc of

 California, N.A., and, without limitation, its predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf. As used

 herein, “Banc” shall be construed either disjunctively or conjunctively, to include Banc of

 California, Inc. individually as well as collectively with Banc of California, N.A. or any other

 affiliate, and as necessary by the context, to bring within the scope of the definition, instruction,

 or request all responses that might otherwise be construed to be outside of its scope by any other

 construction.

            7.     “Banc Securities” means any security, financial interest, preferred share, common

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 share, option, note, treasury stock, bond, debenture, evidence of indebtedness, collateral trust

 certificate, transferable share, voting trust certificate or any other certificate of interest or

 participation (whether permanent, temporary or interim), or any warrant, contract, option

 (including puts or calls), or right to subscribe to, purchase, borrow against, or sell any of the

 foregoing concerning Banc.

         8.      “Blog” refers to the blog post entitled “BANC: Extensive Ties to Notorious

 Fraudster Jason Galanis Make Shares Un-Investible,” posted on the website SeekingAlpha.com

 by “Aurelius” on October 18, 2016.
         9.      “Bloomberg News” shall mean Bloomberg News and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         10.      “Board” or “Boards” shall mean individually and collectively the Board of

 Directors of Banc of California, Inc. and Banc of California, N.A.

         11.     “Castalian Partners Value Fund, LP” shall mean Castalian Partners Value Fund,

 LP, and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on its behalf.

         12.      “Communication” or “communications” means e-mail, text message, letter

 (including attachments) or any other transmittal of information (in the form of facts, ideas,

 inquiries or otherwise).

         13.     “Concerning” means relating to, referring to, describing, evidencing, or

 constituting.

         14.     “COR Clearing” shall mean COR Clearing, LLC and, without limitation, its

 current or former predecessors, successors, parents, subsidiaries, affiliates, divisions, directors,

 officers, employees, principals, trustees, agents, representatives, consultants, internal and

 external attorneys, or any other person acting on their behalf.

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         15.     “COR Securities Holdings” shall mean COR Securities Holdings, Inc. and,

 without limitation, its current or former predecessors, successors, parents, subsidiaries,

 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         16.     “CSS LLC” shall mean CSS LLC and, without limitation, its predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, employees, principals,

 trustees, agents, representatives, consultants, internal and external attorneys, or any other

 person acting on their behalf.
         17.     “Document” or “documents” is defined to mean all documents, electronically

 stored information, and tangible things in the broadest sense under Rule 34 of the Federal Rules

 of Civil Procedure, and shall mean anything that can be read, viewed, heard, or otherwise

 understood. Subject to and in accordance with the Instructions herein, “document” shall not be

 limited in any way with respect to medium, embodiment, or process of creation, generation, or

 reproduction; “document” shall include, without limitation, all preliminary, intermediate, and

 final versions thereof, as well as any notations, comments, and marginalia (handwritten or

 otherwise) appearing thereon or therein; “document” shall include originals (or high quality

 duplicates), all non-identical copies or drafts, and all attachments, exhibits, or similar items. Any

 document bearing on any sheet or side thereof, any marks, including, without limitation, initials,

 notations, comments, or marginalia of any character which are not part of the original text or

 reproduction thereof, shall be considered a separate document. Document or documents shall

 include without limitation any and all Communications.

         18.     “Electronic data” refers to any original and any non-identical copies (whether

 non-identical because of notes made on copies or attached comments, annotations, marks,

 transmission notations, or highlighting of any kind), mechanical, facsimile, electronic, magnetic,

 digital, or other programs (whether private, commercial, or work-in-progress), programming

 notes or instructions, activity listings of electronic mail or “e-mail” receipts or transmittals,

 output resulting from the use of any software program, including word processing documents,

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 spreadsheets, database files, charts, graphs, and outlines, electronic mail, operating systems,

 source code of all types, programming languages, linkers and compilers, peripheral drives, PDF

 files, PRF files, batch files, ASCII files, crosswalks, code keys, pull down tables, logs, file

 layouts, or any miscellaneous files or file fragments, regardless of the media on which they

 reside and regardless of whether said electronic data consists of an active file, backup file,

 deleted file, or file fragment. “Electronic data” also includes, without limitation, any items

 stored on computer memory or memories, hard drives, zip drives, CD-ROM discs or in any other

 vehicle for electronic or digital data storage or transmittal, files, folder tabs, or containers and

 labels appended to or associated with any physical storage device associated with each original

 and each copy.
         19.      “Endicott Management Co.” shall mean Endicott Management Company and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         20.      “FIG Partners” shall mean FIG Partners and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         21.      “G2 Trading LLC” shall mean G2 Trading LLC or G-2 Trading LLC and,

 without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

         22.      “Galanis” shall mean Jason W. Galanis and any of his agents, representatives,

 consultants, attorneys, or any other person acting on his behalf.

         23.      “Alleged Galanis Entity” shall mean Gerova Financial Group, Ltd., Hughes

 Capital Management, LLC, Atlantic Asset Management LLC, Burnham Securities, Inc.,

 Burnham Financial Group, Burnham Asset Management Corporation, BAM Holdings, LLC,

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 Thorsdale Fiduciary and Guaranty Company Ltd., Valor Group Ltd., Valorlife, Wealth

 Assurance Holdings Ltd., Wealth-Assurance AG, Wealth Assurance Private Client

 Corporation, Valorlife Lebensversicherungs AG, Holmby Capital Group, IP Global Investors

 Ltd., Prospect Global Resources, Inc., Private Equity Management LLC, Malaga Asset

 Management, LLC, Stanwich Absolute Return, Ltd., Bel Air LLC, Emerging Markets Global

 Hedge Ltd., Little Giggles LLC, Galanis Family Trust, Rosemont Seneca Bohai LLC, BOE

 Capital LLC, BFG Socially Responsible Investing Limited, GMT Duncan LLC, COR Fund

 Advisors, and COR International, including, without limitation, any of their predecessors,

 successors, parents, subsidiaries, affiliates, divisions, directors, officers, principals, trustees,

 agents, representatives, consultants, attorneys, or any other person acting on their behalf.

 Nothing in this definition shall admit, concede, or suggest that Jason Galanis had any control

 over such entities.
         24.     “Investors” shall mean persons or entities who engage in TRANSACTIONS in

 SECURITIES.

         25.     “JCSD Partners LP” shall mean JCSD Partners LP and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         26.      “KBW” shall mean Keefe, Bruyette & Woods, Inc. and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         27.     “Patriot Capital” shall mean Patriot Capital and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         28.     “Peak 6 Capital Management LLC” shall mean Peak 6 Capital Management,

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 LLC and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates,

 divisions, directors, officers, employees, principals, trustees, agents, representatives,

 consultants, internal and external attorneys, or any other person acting on their behalf.

         29.      “PL Capital” shall mean PL Capital, LLC and, without limitation, its

 predecessors, successors, parents, subsidiaries, affiliates, divisions, directors, officers,

 employees, principals, trustees, agents, representatives, consultants, internal and external

 attorneys, or any other person acting on their behalf.

         30.     “Person” shall mean any natural person or any legal entity, including, without

 limitation, any business or governmental entity or association.
         31.     “Refer, reflect, or relate to” and similar terms, used together or alone, shall mean

 all information, facts, or documents that directly, indirectly, or in any other way support,

 concern, negate, bear upon, touch upon, incorporate, affect, include, pertain to, or are otherwise

 connected with the subject matter about which the request is made.

         32.      “Regulators” shall refer to the regulatory agencies responsible for

 overseeing the securities industry or banking industry, including without limitation the

 Federal Reserve Board, United States Department of the Treasury, the Office of the

 Comptroller of the Currency, or the Financial Industry Regulatory Authority (FINRA).

         33.      “SEC” shall mean the United States Securities and Exchange Commission,

 including all present or former officers, employees, directors, employees, agents,

 attorneys, advisors, accountants, consultants, and all other persons acting or purporting to

 act on its behalf.

         34.     “Securities” shall have the meaning set forth in the Securities Exchange Act of

 1934, 15 U.S.C. §§ 78a, et seq.

         35.     “Seeking Alpha” shall mean SeekingAlpha of SeekingAlpha.com, any of its

 direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present or former officers, employees, directors, employees, agents, advisors, and all other

 persons acting or purporting to act on its behalf.

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         36.     “Shorts” shall mean INVESTORS engaged in the practice of short selling

 SECURITIES, including without limitation INVESTORS who sold BANC short in October

 2016.

         37.      “Sparrow Fund Management” shall mean any of the following entities and

 their direct or indirect subsidiaries, divisions or affiliates, parents, predecessors, successors,

 present and former officers, directors, employees, agents, advisors, and all other persons

 acting or purporting to act on their behalf, including Sparrow Fund Management LP,

 Sparrow Fund Management LLP, Sparrow GP, LLC, Sparrow Partners, LP, and Sparrow

 Fund Performance, LLC.
         38.     “Stifel” shall mean Stifel Financial Corp., any of its direct or indirect

 subsidiaries, divisions or affiliates, parents, predecessors, successors, present or former

 officers, employees, directors, employees, agents, advisors, and all other persons acting or

 purporting to act on its behalf.

         39.      “Sugarman” shall mean Steven A. Sugarman and any of his agents,

 representatives, consultants, attorneys, or any other person acting on his behalf.

         40.      “This action” shall mean the present lawsuit, In re Banc of California Securities

 Litigation, Case No. SACV 17-00118 AG (DFMx), pending in the United States District Court

 for the Central District of California.

         41.      “Transactions” shall mean any actual or attempted orders, purchases,

 acquisitions, sales, swaps, dispositions, tenders, donations, receipt, gifts, transfers, puts, calls,

 short sales, equities, debt, derivatives, or any other means by which YOU, whether for your

 own account or benefit or for the account or benefit of any other person, acquired or disposed

 of any interest in securities.

         42.     “Wellington Management” shall mean Wellington Management Company LLP

 and, without limitation, its predecessors, successors, parents, subsidiaries, affiliates, divisions,

 directors, officers, employees, principals, trustees, agents, representatives, consultants, internal

 and external attorneys, or any other person acting on their behalf.

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        43.     As used herein, the use of the singular form of any word shall include the plural

 form of the same and vice versa.

 II.    INSTRUCTIONS

        1.      In responding to these requests, you shall produce all responsive documents

 which are in your possession, custody, or control, or in the possession, custody, or control of

 your predecessors, successors, partners, managing agents, agents, employees, accountants, or any

 other representative. A document shall be deemed to be within your control if you have the

 ability or right to secure the document or a copy of the document from another person having

 possession or custody of the document.
        2.      All documents should be produced: (a) as they are kept in the ordinary course of

 business, complete with legible copies of the labels of file folders, binders, containers, or other

 devices from which they were taken, or (b) organized according to the request to which they

 respond.

        3.      If any responsive document was, but no longer is, in your possession or subject to

 your control, state whether the document is: (a) missing or lost; (b) destroyed; (c) transferred

 voluntarily or involuntarily to others; or (d) otherwise disposed of, and in each instance identify

 the name and address of its current or last known custodian, and the circumstances surrounding

 such disposition.

        4.      If you claim any form of privilege or any other objection, whether based on

 statute, common law, or otherwise, as a ground for not producing any requested document,

 please furnish a list identifying each document for which the privilege or other objection is

 claimed together with the following information:

                        a.      the privilege being asserted;

                        b.      the person on whose behalf the privilege is asserted;

                        c.      a precise statement of the facts upon which the claim of privilege is

                                based; and

                        d.      identify the purported privileged document, including:

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                                (1)     its nature, e.g., letter, memorandum, tape, etc.;

                                (2)     the date it was prepared;

                                (3)     the date the document bears;

                                (4)     the date the document was sent;

                                (5)     the date it was received;

                                (6)     the name of the person who prepared the document;

                                (7)     the name(s) of the person(s) who received the document;

                                (8)     the name of each person to whom it was sent or was

                                        intended to be sent, including all addressees and all

                                        recipients of copies; and
                                (9)     a statement of whom each identified person represented or

                                        purported to represent at all relevant times.

        5.      If a portion of any document responsive to these requests is withheld under claim

 of privilege pursuant to Instruction 4, any non-privileged portion of such document must be

 produced with the portion claimed to be privileged redacted.

        6.      You are to produce each document requested herein in its entirety, without

 deletion or excision (except as qualified by Instructions 4 and 5 above) regardless of whether you

 consider the entire document to be relevant or responsive to the requests.

        7.      The singular of any term includes the plural, the use of one gender or pronoun

 shall include all others, as appropriate in the context, and the disjunctive shall include the

 conjunctive, and vice versa. Construe the terms “and” and “or” as used in this document in the

 conjunctive and disjunctive so as to produce the broadest scope of documents pursuant to each

 request.

        8.      The requests herein are continuing so that any additional documents responsive to

 the requests herein that you acquire or discover, up to and including the time of trial, shall be

 furnished through prompt supplemental responses as required by Fed. R. Civ. P. 26(e). This

 paragraph shall not be construed to alter your obligations to comply with all other instructions

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  herein.

  III.      RELEVANT TIME PERIOD

            Unless otherwise specifically indicated, the requests herein refer to the period from

  October 1, 2015 to April 30, 2017 (the “Relevant Period”), and shall include documents and

  information that relate to such period, even though prepared or published outside of the Relevant

  Period. If a document prepared before this period is necessary for a correct or complete

  understanding of any document covered by a request, you must produce the earlier document as

  well. If any document is undated and the date of its preparation cannot be determined, the

  document shall be produced if otherwise responsive to the request.
  IV.       DOCUMENT REQUESTS

            REQUEST NO. 1:

            All COMMUNICATIONS with BANC, or third parties representing BANC in connection

 with the COMMUNICATION, including without limitation:

               • Non-disclosure agreements;

               • Due diligence materials obtained from BANC;

               • Documents regarding potential investments in BANC;

               • COMMUNICATIONS with BANC board members, officers, or other

                  representatives; and

               • COMMUNICATIONS regarding SUGARMAN, GALANIS, any ALLEGED

                  GALANIS ENTITY, AURELIUS, or Winston & Strawn LLP.

            REQUEST NO. 2:

            All DOCUMENTS that reflect YOUR TRANSACTIONS in BANC SECURITIES,

 including without limitation:

               • The total position YOU held in BANC SECURITIES at the end of the trading day

                  of October 17, 2016;

               • The total amount of put options YOU held in BANC SECURITIES at the end of the

                  trading day of October 17, 2016;

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            • YOUR transactions in BANC SECURITIES on October 18, 19, 20, and 21, 2016,

                and throughout the Relevant Period; and

            • Documents sufficient to reflect or calculate the amount of profit YOU earned on all

               put options YOU held in BANC SECURITIES that were set to expire on or after

               October 21, 2016.

         REQUEST NO. 3:

         All DOCUMENTS that refer, reflect or relate to the basis for YOUR decision to engage

 in any TRANSACTIONS in BANC SECURITIES including without limitation:

            • All investment memorandum, emails, models, and other analysis relating to

               TRANSACTIONS in BANC SECURITIES;

            • All investment committee minutes, resolutions or other COMMUNICATIONS

               regarding any TRANSACTION in BANC SECURITIES; and

            • All research, investigations, analysis or reports prepared by YOU, private

               investigators, investigation research firms or other third parties regarding BANC,

               GALANIS, or any ALLEGED GALANIS ENTITY.

         REQUEST NO. 4:
         All DOCUMENTS and COMMUNICATIONS that refer, reflect or relate to the

 BLOG or AURELIUS, including without limitation any COMMUNICATIONS with

 AURELIUS or SEEKING ALPHA, and including without limitation any DOCUMENTS

 relating to AURELIUS’s identity.

         REQUEST NO. 5:

         All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU

 and any third party regarding BANC, SUGARMAN, GALANIS, ALLEGED GALANIS

 ENTITY, the BLOG, or AURELIUS, including without limitation COMMUNICATIONS

 between YOU and any of the following people or entities: BLOOMBERG NEWS, PEAK 6

 CAPITAL MANAGEMENT LLC, James Gibson, Gary Robert Mathews, CSS LLC, Keith

 Allen Dilling, David Mathews, Rosemary Norris Hall, Kalyn Mathews Denno, Adam Denno,

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 JCSD PARTNERS LP, G2 TRADING LLC, Jacques Brousseau, Andrew Left, Michael David

 Gold, Kenneth Gold, Zeke Faux, Jenny Surane, Dakin Campbell, Eben Novy-Williams, Steven

 Didion, Richard Lashley, PL CAPITAL, W. Kirk Wycoff, PATRIOT CAPITAL, ENDICOTT

 MANAGEMENT CO., Basswood, Halle Bennett, KBW, STIFEL, Jeffrey Karish, Jonah Schnel,

 Robert Sznewajs, SUGARMAN, Francisco Turner, Jason Sugarman, Nathan Koppikar,

 SPARROW FUND MANAGEMENT, Andrew Secrist, Christopher Carroll, Tim Coffey, FIG

 PARTNERS, Thomas Michaud (or Thomas Beaulieu Michaud), BofI Holding Inc., COR

 CLEARING, COR SECURITIES HOLDINGS, Zeke Faux, Jenny Surane, Dakin Campbell, or

 GALANIS.

        REQUEST NO. 6:
       All COMMUNICATIONS with and DOCUMENTS that refer, reflect or relate to

 GALANIS or any ALLEGED GALANIS ENTITY.

        REQUEST NO. 7:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 COR CLEARING or COR SECURITIES HOLDINGS regarding BANC or SUGARMAN.

       REQUEST NO. 8:

       All DOCUMENTS that refer, reflect or relate to COMMUNICATIONS between YOU and

 Robbins Geller Rudman & Dowd, Bragar Eagel & Squire, P.C., Bronstein, Gewirtz & Grossman,

 LLC, Faruqi & Faruqi, LLP, Glancy Prongay & Murray LLP, Goldberg Law PC, Hagens Berman

 Sobol Shapiro LLP, Holzer & Holzer, LLC, Hynes Keller & Hernandez, LLC, Johnson & Weaver,

 LLP, Khang & Khang LLP, Law Offices of Howard G. Smith, Levi & Korsinsky, LLP, Lifshitz &

 Miller Law Firm, Lundin Law PC, Rosen Law Firm, the SEC, other REGULATORS, or other

 BANC INVESTORS or SHORTS, or any representatives thereof, relating to BANC or

 SUGARMAN.

       REQUEST NO. 9:

       All CORRESPONDENCE with any of the following people or entities from 2013 to the

 present: PATRIOT CAPITAL (including W. Kirk Wycoff); PL CAPITAL (including Richard

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 Lashley); Halle Benett, Jeffrey Karish, SUGARMAN, Francisco Turner, Jonah Schnel, Chad

 Brownstein, COR CLEARING or its current or former employees, PEAK 6 CAPITAL

 MANAGEMENT LLC, James Gibson, Nathan Koppikar, SPARROW FUND MANAGEMENT,

 CASTALIAN PARTNERS VALUE FUND, LP, BLOOMBERG NEWS (or its journalists), or FIG

 PARTNERS.

        REQUEST NO. 10:

        All CORRESPONDENCE with any of the following people or entities: GALANIS, John

 Galanis, Jared Galanis, Hugh Dunkerely, Gary T. Hirst, Bevan T. Cooney, Michelle A. Morton,

 Devon D. Archer, Ymer Shahini, Derek Hamels, Francisco Martin or Monet Berger.




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                    EXHIBIT 9
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                                 VAN NURDEN LAW, PLLC
                                      1515 CANADIAN PACIFIC PLAZA
                                        120 SOUTH SIXTH STREET
                                        MINNEAPOLIS, MN 55402
                                          PHONE: 612-455-8945

                                           Joel D. Van Nurden
                                         joel@vannurdenlaw.com



 August 7, 2018
                                                                 VIA EMAIL ONLY
 Kristen Tuey                                                    kristen.tuey@lw.com
 Latham & Watkins LLP
 335 South Grand Avenue, Suite 100
 Los Angeles, CA 90071

 Re:    Defendant's Subpoenas to James Gibson and Castalian Partners Value Fund LP issued in
        In re Banc of California Securities Litigation SACV17-00118 AG (DFMx) (the
        "Underlying Action").

 Dear Ms. Tuey:

 I represent James Gibson and Castalian Partners Value Fund LP (“Respondents”) and am writing
 this letter to object and respond to the subpoenas referenced above. In addition to the objections
 listed below, Respondents reserve the objections listed in Appendix A hereto.
 First, Respondents object to the subpoena directed to “James Gibson LLC” because no such
 legal entity exists.
 Second, after reviewing the pleadings in the Underlying Action, it appears that the subpoenas are
 nothing but a fishing expedition to gather extensive confidential or privileged information about
 Respondents that has nothing to do with the issues in the action. For example, the subpoenas
 contain invasive demands for information about Respondents’ investments, client lists, and
 correspondence with regulators and other market participants that is wholly irrelevant to whether
 certain statements made in Banc of California’s securities filings were materially misleading.
 The subpoenas also continue to seek documents and information that the Court has already found
 to be outside the scope of permissible discovery. See, the Court’s February 14, 2018 discovery
 ruling (Dkt. No. 146).
 Third, all of the requests seek some variation of “All Documents” or “All Communications”
 concerning various topics, and are thus not only unduly burdensome, but also seek information
 protected by the attorney-client privilege and the attorney work-product doctrine. Respondents
 object to producing any such documents.
 Fourth, Respondents object to several of the definitions and instructions. Respondents object to
 the definition of “Castalian Partners Value Fund LP” as including “predecessors, successors,
 affiliates, divisions, directors, officers, employees, principals, trustees, agents, representatives,
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 Kristen Tuey
 Latham & Watkins LLP
 August 8, 2018
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 consultants, internal or external attorneys…” Respondents also object to the definition of “You”
 as including “affiliated predecessors, successors, parents, subsidiaries, affiliates, divisions,
 advisors, partnerships, funds, investment vehicles…associated with [Castalian Partners] or in
 which [Castalian Partners] invested…and any directors, officers employees, agents, advisors,
 representatives, and all other persons acting or purporting to act on behalf of” Castalian Partners.
 These definitions are vague, ambiguous, overly broad, and unduly burdensome. Respondents
 have no obligation to produce and will not produce documents or information in the possession,
 custody, or control of third parties.
 Based on the claims and defenses presented in the pleadings, I trust that this should satisfy the
 obligations pursuant to the subpoena. In the event you wish to discuss this matter further, please
 do not hesitate to contact me.
 Very truly yours,



 Joel D. Van Nurden
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                                          APPENDIX A
        James Gibson and Castalian Partners Value Fund LP (“Respondents”) assert the
 following objections to the subpoena issued by Defendant in connection with the lawsuit styled
 In re Banc of California Securities Litigation SACV 17-00118 AG (DFMx) (the “Underlying
 Action”). These objections are made to the subpoena in general, as well as to each and every
 individual request for production of documents.
                                  PREFATORY STATEMENT
         These general objections are in addition to the specific objections Respondents raise in
 their August 7, 2018 letter that accompanies these general objections. In providing these general
 objections, Respondents are not submitting to the jurisdiction of any Court and reserve their right
 to object to this and any other proceeding on jurisdictional grounds. In addition, by asserting
 these objections, Respondents do not waive their right to seek further relief from the appropriate
 forum, including motions to quash or modify the subpoena, or for entry of a protective order.
 These objections are made in good faith after a preliminary inquiry within the agreed-upon time
 frame. Respondents’ inquiries and analyses are continuing. Without in any way undertaking any
 obligation to do so, Respondents reserve the right to alter, supplement, amend, or otherwise
 modify these objections in any way at any time in light of additional facts revealed through
 subsequent inquiry and investigation.
                                   GENERAL OBJECTIONS
         1.    Respondents object to each and every document request to the extent they seek
 information not specifically related to the action, as such requests are unduly burdensome and
 not relevant.
         2.     Respondents object because the Subpoena is not reasonably calculated to lead to
 the discovery of admissible evidence and fails to satisfy Rule 26’s proportionality standard.
         3.       Respondents object to the subpoenas to the extent that they seek or call for
 information or documents that are protected from discovery on the basis of: (a) the attorney-
 client privilege; (b) the work-product doctrine; (c) the self-critical analysis privilege; (d) any
 joint defense, common interest, or other shared privilege; or (e) any other applicable discovery
 rule, privilege, or other reason for non-production. Respondents do not intend to waive any
 applicable privilege or protection and will not disclose any privileged or protected documents. In
 the event Respondents inadvertently disclose any such documents, the disclosure is not intended
 and shall not be deemed to be a waiver of any privilege or protection. Respondents reserve the
 right to demand that Defendant return any inadvertently produced document.
         4.      Respondents object to the subpoenas, including the Instructions and Definitions
 contained therein, to the extent that they: (a) purport to impose upon Respondents obligations
 greater than or different than those imposed by the Federal Rules of Civil Procedure or any other
 applicable law or rule; (b) call for information or documents that are not relevant to any issues
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 that are or may be involved in the Underlying Action; or (c) are overly broad, vague, ambiguous,
 indefinite, costly, and/or unduly burdensome.
         5.     Respondents object to the subpoenas to the extent that they require the creation of
 documents that do not exist or request documents that are not in the possession, custody, or
 control of Respondents, including, without limitation, documents in the possession, custody or
 control of predecessors, successors, parents, subsidiaries, divisions, or affiliates of Respondents
 having corporate identities separate and apart from Respondents.
       6.      Respondents object to the subpoenas to the extent that they seek information and
 documents that are already in the possession, custody, or control of Defendant, or available to
 Defendant from other sources, including parties to the Underlying Action.
         7.     Respondents object to the subpoenas as vague and ambiguous to the extent that
 they contain terms or phrases that Respondents cannot interpret or understand and to the extent
 the terms and/or phrases used therein are undefined or fail to meaningfully distinguish between
 similar (but not identical) terms and phrases used in other requests.
        8.      Respondents object to the subpoenas to the extent that they demand confidential
 information of Respondents and/or non-public personal information of their customers
 (“Confidential Information”). Such Confidential Information is protected from disclosure under
 laws and regulations governing the privacy rights of consumers and other persons. Defendant’s
 requests for production raises obvious concerns in this regard.
         9.      Respondents object to the subpoenas to the extent that they demand confidential
 and/or proprietary business, financial, or technical information or documents, or documents
 constituting or reflecting commercial, financial, competitively sensitive, or trade secret
 information of Respondents or any third parties.
          10.    Respondents object to the subpoenas to the extent that they seek the production of
 information and documents in violation of a legal and/or contractual obligation of nondisclosure
 to a third party. Respondents will not produce such documents without either the consent of the
 relevant third party or an order from the Court compelling production.
        11.     Respondents object to the subpoenas to the extent they seek publicly available
 information or documents. Such documents are as readily available to Defendant as they are to
 Respondents, and Defendant is directed to these publicly available materials for such information
 or documents.
          12.     Respondents object to the subpoenas to the extent that they purport to require the
 production of: (a) electronically stored information that is not stored on active systems but is
 stored on systems, backup tapes, archival sources, and other media that are no longer part of
 Respondents’ normal business operations, (b) deleted files or “file fragment[s],” (c) load files,
 (d) operating systems, (e) source code, (f) programming notes or instructions, (g) social network
 sites, or (h) “cloud metadata.” Such electronically stored information is not reasonably accessible
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 and is likely duplicative of electronically stored information available from other, more readily
 accessible sources. Because of the lack of relevance of such electronically stored information,
 and the cost associated with accessing and searching these data sources, Respondents will not
 produce such electronically stored information in response to the subpoenas.
        13.     Respondents object to the subpoena’s Instructions to the extent that they seek the
 production of electronically stored documents in their native format. The production of
 documents, including electronically stored information, in native format would prevent
 Respondents from adequately labeling and controlling the production.
         14.     Respondents reserve their right to (a) further object to the subpoenas, the
 document requests, or the Instructions or Definitions provided by Defendant; (b) object on any
 basis permitted by law to any other discovery requests involving or relating to the subject matter
 of these objections; and (c) alter, amend or supplement its objections to the subpoenas in the
 event discussions between Respondent and Defendant with regard to the subpoenas progress.
